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   EXHIBIT ,
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Deposition of Matthew Bennett                         Marnie O'Brien v. Middle Eastern Forum, Daniel Pipes & Gregg Roman


   1        IN THE UNITED STATES DISTRICT FOR THE EASTERN
                         DISTRICT OF PENNSYLVANIA
   2
         MARNIE O'BRIEN,                )
   3                                    )
                             Plaintiff  ) 2:19-cv-06078-JMG
   4                                    )
                         vs.            )
   5                                    )
         MIDDLE EASTERN FORUM,          )
   6     DANIEL PIPES (individually), )
         and GREGG ROMAN                )
   7     (individually),                )
                                       )
   8                        Defendants )
         ______________________________
   9     GREGG ROMAN,                   )
                                        )
 10       Counterclaim and Third-Party )
          Plaintiff                     )
 11                                     )
              vs.                       )
 12                                     )
         MARNIE O'BRIEN,                )
 13                                     )
           Counterclaim Defendant,      )
 14                                     )
         and                            )
 15                                     )
         MATTHEW EBERT,                 )
 16                                     )
           Third-Party Defendant        )
 17      ______________________________
 18                                                         --oOo--
 19      DEPONENT:                MATTHEW BENNETT
 20      TAKEN BY:                Plaintiff
 21      DATE/TIME:               Tuesday, January 12, 2021
                                  9:09 a.m.
 22
         PLACE:                   Zoom Videoconference
 23
         REPORTER:                Joyce A. Wise, RMR
 24                               Notary Public
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   1

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 17           Mark Fink, Esquire
               Middle Eastern Forum In-house Counsel
 18

 19         Jason Brockman
 20         ,FO"NSIFJO, Video Specialist
 21

 22

 23

 24

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   1                              THE VIDEOGRAPHER:                          Okay.           We are
   2                       now on the record.
   3                              Today's date is January 12, 2021,
   4                       and the time is 9:09 a.m. Eastern.
   5                              This is a recorded video
   6                       deposition of Matthew Bennett taken in
   7                       the matter of Marnie O'Brien versus
   8                       Middle Eastern Forum, et al, the United
   9                       States District Court for the Eastern
 10                        District of Pennsylvania, Case Number
 11                        2:19-CV-07078-JMG.
 12                               My name is Ken Amrhein from
 13                        Everest Court Reporter.                        I'm the video
 14                        specialist.         The court reporter is Joyce
 15                        Wise from Everest Court Reporting.
 16                               All counsel appearing today will
 17                        be noted on the stenographic record.
 18                               Will the court reporter please
 19                        swear in the witness?
 20                               MATTHEW BENNETT,
 21      called upon by Defendant to give testimony, being
 22      duly sworn or affirmed by me, testified as
 23      follows:
 24                                 EXAMINATION
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   1     BY MS. SHIKUNOV:
   2                       Q.      All right.                Good morning,
   3     Mr. Bennett.
   4                               We are here today to take your
   5     deposition, which is effectively an
   6     information-gathering exercise prior to summary
   7     judgment motions and trial.
   8                               In light of that, there is a court
   9     reporter who is virtually here this morning.
 10      She's taking down everything we say.
 11                                What that means is that we cannot
 12      speak at the same time, particularly over the
 13      Zoom platform.
 14                                So that can feel a little
 15      unnatural.             Where I run into trouble with it is I
 16      start to ask a question, you know where the
 17      question's going and you want to start to answer
 18      as if we were in a conversation.
 19                                It's important that you let me
 20      finish the question so she can take it down
 21      accurately.
 22                                Likewise, I may think you're done
 23      with an answer, but you're not done, and I may
 24      start to speak.
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   1                              I will immediately stop speaking,
   2     if that's happening.                    I will never cut you off
   3     and I will always let you complete your answer.
   4                              Do you understand all of that?
   5                       A.     Yes.
   6                       Q.     Okay.          The other thing, because we
   7     have a court reporter here today, it's important
   8     that all your answers are verbal.
   9                              So I need a yes or a no or a word.
 10      If you give me an uh-huh or an huh-uh or nod or
 11      shake your head, which I promise you'll do at
 12      least once, I will just remind you to answer
 13      verbally.
 14                               Okay?
 15                        A.     Yep.
 16                        Q.     I may ask you a poorly-worded
 17      question this morning.                      I'm not scripted.                            It
 18      happens as we speak.
 19                               If you do not understand a
 20      question that I've asked of you, let me know that
 21      you don't understand the question and I will
 22      happily rephrase it.
 23                               If you don't know or can't
 24      remember the answer to a question I ask you,
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   1     those are fabulous answers to a question.
   2                              If you do answer a question, we
   3     are going to assume that you've understood the
   4     question and that you knew the answer to the
   5     question.
   6                              Do you understand?
   7                       A.     Yes.
   8                       Q.     We can take a break at any time.
   9     The only caveat to that is you do need to answer
 10      any question that's open before you.
 11                               And finally, sir, are you under
 12      the influence of any medication or substance that
 13      would impede your ability to testify truthfully
 14      here this morning?
 15                        A.     No.
 16                        Q.     Do you have a medical condition
 17      that would make it difficult for you to testify
 18      truthfully here today?
 19                        A.     No.
 20                        Q.     And do you agree to read and sign
 21      the transcript for accuracy?
 22                        A.     My audio cut out.
 23                        Q.     Do you agree to read and sign the
 24      transcript for accuracy?
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   1                       A.      Sure.
   2                       Q.      Okay.          Sir, preparing for today's
   3     deposition, did you review any documents?
   4                       A.      I received an e-mail from Jakob.
   5                               MS. DiBANCA:                  That's counsel.                           So
   6                       I'm just going to interrupt --
   7     BY MS. SHIKUNOV:
   8                       Q.      Yeah.          Don't tell me anything that
   9     counsel said.
 10                                If you reviewed an e-mail from
 11      counsel, that's sufficient.
 12                        A.      No, I -- yeah, I didn't review it.
 13      But I didn't really have time to go through
 14      documents.             But, yeah, I glanced at some stuff.
 15                        Q.      So other than -- did you review
 16      any prior deposition transcripts or the complaint
 17      or anything like that is more what I'm interested
 18      in?
 19                        A.      No.
 20                        Q.      Okay.          Have you given a deposition
 21      before?
 22                        A.      Yeah, once about, I think, a month
 23      ago.          Something like that.
 24                        Q.      And was that in the Lisa Barbounis
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   1     versus MEF matter?
   2                       A.     Correct.
   3                       Q.     Other than that deposition, have
   4     you ever given a deposition previously or
   5     testified at all in a legal proceeding?
   6                       A.     No.
   7                       Q.     Okay.         Sir, when did you -- you
   8     used to work for the Middle East Forum, correct?
   9                       A.     Correct.
 10                        Q.     When did you start?
 11                        A.     I believe it was summer of 2016.
 12                        Q.     Okay.         And what job were you hired
 13      in to perform?
 14                        A.     I was hired as the Director of
 15      Special Projects.
 16                        Q.     And who hired you?
 17                        A.     Daniel Pipes, Gregg Roman and I
 18      think those are the only people I interviewed
 19      with.
 20                        Q.     Did you have a prior relationship
 21      with Daniel Pipes, meaning prior to joining the
 22      Forum?
 23                        A.     No.
 24                        Q.     What about with Mr. Roman?
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   1                       A.     Yes.
   2                       Q.     How did you know Mr. Roman?
   3                       A.     We attended the same university
   4     in, I believe, 200 maybe 3.                            So I've known him
   5     now 17 years, something along those lines.
   6                              We played flag football against
   7     one another maybe in, I think, fraternity
   8     football, something like that.
   9                       Q.     And what university was that?
 10                        A.     American University in Washington,
 11      D.C.
 12                        Q.     Have you continued your social
 13      relationship with Mr. Roman after leaving the
 14      Forum?
 15                        A.     Yeah.          We speak about maybe once a
 16      month on average.
 17                        Q.     How would you characterize your
 18      relationship with Mr. Roman?
 19                        A.     It's good.                Not what it used to
 20      be.        But, you know, we were friends for a while
 21      and then not and now we are again.                                      At least from
 22      my perspective.
 23                        Q.     Did Mr. Roman introduce you to the
 24      Forum?            Like is he how you got your job there?
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   1                       A.     I knew about the Forum.                                 I was
   2     working at another organization and we hosted an
   3     event and he was one of the panel speakers at the
   4     event.
   5                              So that's when I came to learn
   6     about the work that he was doing and then we
   7     had -- you know, through that gotten back in
   8     touch.
   9                       Q.     So you -- you started your work
 10      for the Forum as the Director of Special Projects
 11      in 2016, is that the position you held throughout
 12      your entirety of your time at the Forum?
 13                        A.     No.       I think the end of 2016, I
 14      took on the responsibilities of the Director of
 15      Development and I stayed in that role until --
 16      for the entire time.
 17                        Q.     Okay.         And was that -- can you
 18      describe to me the change in roles there?
 19                        A.     Sure.         Can you hold on one second?
 20      Sorry.
 21                        Q.     That's okay.
 22                        A.     What was the last question?
 23                        Q.     I was just asking for you to
 24      describe the change in positions.
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   1                       A.     Change in position was -- I was
   2     six months in to the role of the Director of
   3     Special Projects.                The person who was
   4     occupying -- or who had that role, the Director
   5     of Development, was let go and I took on those
   6     responsibilities.
   7                       Q.     Who was let go?
   8                       A.     Her name was Tiffany Lee.
   9                       Q.     Are you aware of the circumstances
 10      under which she was let go?
 11                        A.     Not -- well, I think I am anyway,
 12      but -- I interviewed originally for that position
 13      and I believe I reported to Tiffany 70 percent of
 14      the time, Gregg the other 30 percent of the time.
 15                               So as a member of the, I think,
 16      development team and the staff, she would, you
 17      know, manage my day-to-day activities.
 18                               A couple months into the job,
 19      myself and another -- another member of the
 20      development -- or another, you know, colleague
 21      started to receive assignments they thought were
 22      odd.
 23                               And we didn't raise any sort of
 24      flags about them, but it continued on for a
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   1     while.
   2                                It became, I guess, clear to me
   3     that maybe she didn't have the credentials that
   4     she said she had or that she wasn't able to do
   5     the job that she was tasked in doing, database
   6     migration, run the national fundraising campaign,
   7     manage the day-to-day staff.
   8                                She was yelling at janitors in the
   9     building.              I think she was vocal with other
 10      members of the office.
 11                                 And so finally I did raise an
 12      issue.            You know, I said, I want to make sure
 13      that, you know, that the organization was aware
 14      of the assignments that I'm being asked to work
 15      on so that I account for my time how it's
 16      supposed to be accounted for.
 17                                 Think others had expressed that
 18      issue with her.                 And I believe it was the end of
 19      October, something around then, she was let go.
 20                                 And that's my knowledge of -- I
 21      believe it was Halloween, Marnie Meyer escorted
 22      her out of the office while she was -- Tiffany
 23      was trying to pack up, take papers and, like,
 24      propriety information and Marnie was saying, no,
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   1     you can't take this.
   2                               Sorry, I don't know if I'm -- if I
   3     answered the question.
   4                       Q.      You definitely answered the
   5     question.
   6                               So that's a good lead-in, though,
   7     because my next question, I want to shift gears
   8     and talk about Marnie, because Marnie has made
   9     allegations against the Forum.                                  And that's why
 10      you're here this morning.
 11                                Did you and Marnie -- how do I
 12      phrase this?
 13                                Was Marnie at the Forum the
 14      entirety of the time that you were at the Forum
 15      or was she hired after you?
 16                        A.      I believe she was hired the day
 17      before me.             We started on the same day at the --
 18      the only office I ever worked in, I believe was,
 19      I started there the first day that everyone else
 20      did.          And I think she said she had started the
 21      day before.
 22                        Q.      And what was your working
 23      relationship like with Marnie?
 24                        A.      In the beginning it was good.
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   1     We -- we joked around a lot.                              Our offices were
   2     right next to each other about -- for about three
   3     years, so we'd know, see each other coming and
   4     going.
   5                              We socialized outside of work.
   6     She invited me with her friend to happy hour at
   7     the -- at the bank that's now a restaurant on
   8     Market Street -- or Chestnut Street.
   9                              We had cocktails at a pizza place
 10      on, you know -- like we were friendly for a
 11      while.            And I'm not sure when it was, but started
 12      to feel that maybe -- I don't know, that
 13      something was strange.
 14                        Q.     What do you mean by that,
 15      something was strange?
 16                        A.     She would ask, like, what is Eman
 17      working on, or what is so and so doing in their
 18      office?
 19                               And, you know, she was the finance
 20      and the HR.            I forget what her title was exactly.
 21      But, you know, she wanted either more
 22      responsibility than she had or she got offended
 23      if I was asked to do something that she believed
 24      was on her -- her words were, came across her
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   1     desk.
   2                              But it wasn't until probably the
   3     final months of, I guess, before I resigned that,
   4     you know, she had asked me, do you think I could
   5     be Director of the Forum and, you know, questions
   6     along those lines.
   7                              And I started to get the feeling
   8     that maybe she wanted more responsibility or
   9     authority over the -- over the office.
 10                               Then at some point I believe I was
 11      asked to be, like, the point person to
 12      communicate with Daniel.                       She took issue with
 13      that.           Not directly with me, which I was, you
 14      know, hurt by.
 15                               You know, if she had said, Matt, I
 16      think I'm the most qualified to run the office, I
 17      would have said, you know, please do.
 18                               But, you know, we started off
 19      well.           My wife was -- my wife met her.                                  I don't
 20      think she was ever a big fan, for whatever
 21      reasons.
 22                               So I guess it started off good and
 23      then it progressed downward over -- over time.
 24                        Q.     I just want to clarify two things
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   1     you just mentioned in that answer.
   2                              So you made a comment that she
   3     said, do you think I could be director.                                            But the
   4     way you phrased it, I'm unclear if she was asking
   5     you if you thought she could be director or if
   6     she was referring to herself?
   7                       A.     I'm sorry.               I don't understand
   8     your question.
   9                       Q.     Let me ask it again.
 10                               So you -- you had just testified
 11      that you had a conversation with Marnie wherein
 12      she made a remark akin to, do you think I could
 13      be director.
 14                               And the way you just stated it in
 15      your answer, I was unclear if you had intended to
 16      mean that Marnie was referring to herself or that
 17      Marnie was referring to you, Matthew Bennett?
 18                        A.     No.       Do I think that she could be
 19      director.
 20                        Q.     Okay.
 21                        A.     And I don't remember what my
 22      response was.            But I might have -- or I might
 23      have said, you know, no, because she didn't have
 24      any, I don't know, background or understanding of
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   1     Middle East foreign policy and things of that
   2     nature.                But it was more administratively, that's
   3     how my knowledge of her skills, and, you know, as
   4     in finance and books and accounting, et cetera,
   5     and knowing what the director role involved,
   6     so -- but -- yeah.                      I don't remember when -- when
   7     she asked me that, but immediately I started
   8     to -- I don't know.
   9                                  I would never ask somebody else,
 10      do you think I could be -- unless I wanted to be
 11      it, so...
 12                        Q.         Was that -- I believe you said
 13      that was in the few months leading up to your
 14      separation from the Forum?
 15                        A.         Yeah.          It would have been
 16      unnatural if it came up before then.
 17                        Q.         Okay.          Then you also said that you
 18      found out that you were going to be a point
 19      person at the Forum and you felt that she had
 20      taken issue with that.
 21                                   How do you know that she took
 22      issue with that?                    And how was it communicated to
 23      you?
 24                        A.         It was never communicated to me.
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   1     But at the time, I was on very good terms with
   2     every single person at the office.
   3                              I asked them point blank.                                    I asked
   4     Lisa, Tricia, Katrina, every single person.                                                  I
   5     said, did you have any issue with me being
   6     supervisor or manager or whatever?
   7                              And they said, of course not.                                          And
   8     I said, you know, did -- like am I -- you know,
   9     what could have led to me being asked to do that?
 10                               And then, you know, I was -- I was
 11      on vacation in Jamaica and I was with my family.
 12      And I remember the day before I left, I think it
 13      was, I said, sure, I'll be point person.
 14                               And then on my last day in
 15      Jamaica, I was told that that was no longer the
 16      case.
 17                               So whatever transpired in that
 18      week while I was gone led to me, I guess, not
 19      being desired for that point person, whatever.
 20                        Q.     So your opinion that Marnie had an
 21      issue with it was just because you had asked
 22      everybody else and they said that they did not
 23      have a problem with it?
 24                        A.     Yeah, I think so.
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   1                              I mean, at the time, things, I
   2     guess, were -- I mean, it's hard for me to
   3     pinpoint the exact time that I felt like my
   4     relationship with Marnie was, like,
   5     deteriorating.
   6                              But, you know, she would say
   7     things that -- like I would socialize with, like,
   8     Lisa and Tricia.               We would go out, you know, to
   9     happy hours and drinking until 2, 3:00 in the
 10      morning, and -- all the time.
 11                               One day Marnie said, well, they
 12      don't really like it if you -- when you go with
 13      them, because they want -- they're trying to pick
 14      up guys and it's harder to do that when you're
 15      with them.
 16                               I said, oh, they never told me
 17      that.           I'm not trying to, like, force myself into
 18      a happy hour with people for no reason.
 19                               And I asked Tricia, I said, you
 20      could have just told me one day that, you know,
 21      you wanted to whatever.                      And she said, I can't
 22      believe Marnie said that to you.
 23                               And, you know, I remember thinking
 24      or saying, like, you can't believe it because she
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   1     made it up?            Or you can't believe it because you
   2     can't believe she told me?
   3                              And the response that, I believe,
   4     she gave was, I can't believe she made it up.
   5                              So I saw that she was drive a
   6     wedge or I felt that she was trying to drive a
   7     wedge between myself and the rest of the people
   8     in the office.
   9                              And that -- I didn't at the time
 10      maybe see the full picture.                            But sitting here
 11      today, I could tell you other things I think
 12      might be indicative of that -- of her efforts to
 13      do that from my perspective.
 14                        Q.     You supervised or were -- Lisa --
 15      let me ask the question this way.
 16                               Lisa and Tricia were your
 17      subordinates, correct?
 18                        A.     No, Lisa was not my subordinate.
 19                        Q.     Tricia was your subordinate?
 20                        A.     Yes, one of them.
 21                        Q.     And how would you, in terms of the
 22      hierarchy of the office, where would Lisa fall in
 23      if she was not your subordinate?
 24                        A.     She was originally hired, I
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   1     believe, as an executive assistant or executive
   2     liaison.               I'm not sure what the role was.                                      But it
   3     was providing assistance to current director.
   4                                 Lisa, I believe, she -- at some
   5     point she started taking on
   6     communications-related work, like marketing-type,
   7     I guess, activities that was never under the
   8     development role when Tiffany was managing the
   9     development team or when I was.
 10                                  It was strictly fundraising --
 11      fundraising, you know, activities online,
 12      fundraising related travel physically.
 13                                  So the work that she did, we
 14      needed to like coordinate, but she never sent,
 15      like, her weekly reports to me, for example.
 16                        Q.        And Marnie was HR, correct?
 17                        A.        Yeah, I believe.                        She had, like, a
 18      dual title of finance and HR, yes.                                         Director of
 19      Finance and something like that.
 20                        Q.        Did it ever occur to you that
 21      Marnie was telling you not to go out with the
 22      other women because it put you in a compromising
 23      position?
 24                        A.        No.        She could have told me that
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   1     directly.              I mean, Marnie was inviting me to
   2     happy hours herself with her friend.
   3                                I remember sitting at the bar and
   4     they were, you know, trying to -- like talking to
   5     guys.
   6                                Several times I had gone out with
   7     Marnie and, I mean, -- why wouldn't she just say
   8     that to me directly?
   9                       Q.       Were you done with your answer?
 10      You said um at the end and I wanted to make sure
 11      I wasn't interrupting.
 12                        A.       Yes, so that's -- well, to answer
 13      your question, that never occurred to me.
 14                                 If that was the case, she said
 15      much more direct things to me than that, so I
 16      believe she would have said it.
 17                        Q.       Okay.          You mentioned that you felt
 18      she was trying to drive a wedge in between you
 19      and the other office staff and you had many more
 20      examples of that.
 21                                 Can you give me the examples that
 22      you recall?
 23                        A.       I believe -- I think the time came
 24      for annual reviews or something along those
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   1     lines, or it was like end of year, maybe 2018, I
   2     was pushing to give everybody raises, promotions.
   3                              And that if I took on the director
   4     role, was advocating for Tricia to take on my
   5     role as Director of Development.
   6                              Marnie said Tricia was a follower.
   7     She didn't deserve it.                     Delaney -- she would tell
   8     me, what's she doing in her office?                                       You know,
   9     same thing with Eman.                    What's Eman doing in her
 10      office all this time?
 11                               So I would have to, like, -- she
 12      would say it to me or sometimes me and Gregg
 13      together, and then I would, you know, get more on
 14      top of subordinates, as you called them, and I
 15      think it was obvious to them that my -- that
 16      wasn't my management style.                           It wasn't like the
 17      nature of my personality to be, like,
 18      aggressively timekeeping.
 19                               It was more of a -- you know, I
 20      respect your ability to do this.                                   So, you know,
 21      if you execute on whatever timeframe and
 22      workplace you want to do it, deliver it at
 23      3:00 a.m., fine.
 24                               But, you know, if you want to sit
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   1     in the office and do something else for an hour,
   2     okay.           I suddenly became like the clock watcher.
   3     And I think that was obvious to some of the
   4     people there.
   5                              At some point when we were
   6     receiving bonuses, she came in my office and told
   7     me what Daniel was going to receive and compared
   8     that to what I was going to receive and said,
   9     this is the man that you work for, that we work
 10      for.          You know, look at this.                      Said worse things
 11      than that.
 12                               But trying to show me that, like,
 13      you have all this admiration for this guy and
 14      then this is his -- how he is going to compensate
 15      you after this year or what he thinks of your
 16      work product after this year.
 17                               In the time that -- you know,
 18      after the fallout with, I guess, with the meeting
 19      and with everything with Gregg, she would just
 20      say things like, just imagine -- just imagine,
 21      like, Gregg and one of the interns or, like, just
 22      he's a predator.
 23                               There wasn't one person that she
 24      had a good thing to say about.                                And then, you
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   1     know, eventually it became clear to me that I'm
   2     obviously not -- I'm not the only one that she's
   3     badmouthing, so that she's obviously badmouthing
   4     me to other people as well.
   5                              And like I said before, then I
   6     started to, I guess, see more full picture of
   7     what I thought was Marnie's, you know, nature.
   8                       Q.     Is that everything you can recall
   9     in terms of her trying to drive a wedge between
 10      you and the rest of the staff?
 11                        A.     There were -- I mean, when you say
 12      rest of the staff, do you mean the staff that
 13      were there at the time that I left?                                       Or in
 14      general when there were, you know, everybody was
 15      there?
 16                        Q.     Well, I'll let you answer that
 17      question, because you had testified that you
 18      thought Marnie was trying to drive a wedge
 19      between you and the rest of the staff.
 20                               So I'm just following up on that.
 21      So --
 22                        A.     All right.               Well, I mean, as far
 23      as driving a wedge, I mean, it was a very -- it
 24      was, like, a casual relationship we all had.                                                    We
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   1     were friends.                We all went out to happy hour.                                            We
   2     were socializing.
   3                                  She talked about guys she was
   4     dating.                I think she wanted to date the Jewish
   5     guy.          I tried setting her up with my friend.
   6     Messaged him on Facebook.                              You know, I sent him
   7     Marnie's profile.                     Said he wasn't interested.
   8                                  She talked about, I guess, an
   9     African-American guy she was dating.                                             And then
 10      Lisa threw it back in her face one day and said
 11      Marnie was -- I don't want to be explicit, but --
 12                        Q.         You can be explicit.
 13                        A.         Marnie's out sucking big black
 14      cocks.            And, I mean, they had issues between
 15      them, I guess, as both two Alpha females became,
 16      like, explosive.
 17                        Q.         Are you saying Lisa said that
 18      about Marnie, to be clear?
 19                        A.         Yes.         She yelled it in the middle
 20      of the office.                 I don't know if Marnie was there
 21      that day or whatever, but -- I think Lisa felt at
 22      some point Marnie was, like, watching her.
 23                                   And then there was this
 24      closed-door meeting that she was unhappy about.
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   1     And that I had to figure out what was -- Lisa was
   2     meeting with another person about.
   3                                 She yelled at me.                          She said,
   4     you've always had a big mouth and that's your
   5     problem.               Or she screamed something like that in
   6     my face.
   7                       Q.        Who screamed in your face?
   8                       A.        Marnie.
   9                       Q.        Okay.          I wasn't sure if we were
 10      talking about Marnie or Lisa.
 11                        A.        Yes.         Sorry.           She stormed out of
 12      the office.
 13                                  I mean, whether or not she was
 14      doing it knowingly or unknowingly, you know, it
 15      definitely felt like her actions would diminish
 16      my relationship with staff -- or they weren't
 17      there to bolster or boost them.
 18                                  And I believe that, you know, that
 19      is evident in her wanting to be the point person
 20      for the office.                  Her believing that she could be
 21      director.              And her thinking that she was the most
 22      qualified or she worked the hardest or she was
 23      the person that should be or that deserved more
 24      roles and responsibilities, et cetera.
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   1                                So I remember a phone conversation
   2     that I had with her where, I believe -- where I
   3     was in the airport maybe on the way to Jamaica or
   4     something -- sometime around then when I said,
   5     when I get back, you know, I'm gonna motivate
   6     everybody and get them all -- everything to be
   7     inspired.              I have big plans.                    Roll out Google for
   8     work or other things that I was thinking about.
   9                                And I remember her reaction to
 10      that just being on the other side of the phone,
 11      like, she -- she could have cared less.                                               Like she
 12      wasn't caring about motivate -- like it was --
 13      there was something else that was eating her and
 14      now I see that it was that.                              She wasn't asked to
 15      be point person.
 16                        Q.       Is that everything you can
 17      remember with regard to Marnie trying to drive a
 18      wedge between you and the rest of the staff?
 19                        A.       There was two other females that
 20      worked there, Lara and Laura.                                 They walked in
 21      the -- the pink -- the pink hat -- I forget the
 22      'Me, Too' -- like the pink hat -- there was a
 23      March in D.C.
 24                                 And they tell me Lara and Laura
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   1     are like these pink hat people and they -- you
   2     know, they're 'Me, Too' women or something along
   3     those lines.
   4                              But, yeah, with those two people
   5     also, like, Laura isn't -- she was constantly
   6     pointing people a finger at other people doing
   7     their jobs.            Saying this one can't do their job,
   8     this one can't do their job, this one can't do
   9     their job.
 10                        Q.     Laura was doing that or Marnie
 11      was?          I'm sorry.
 12                        A.     Marnie was.                 And I'm just saying
 13      Lara and Laura were two people -- like Lara I saw
 14      it in, because Lara was Gregg's assistant and she
 15      couldn't fulfill that role.
 16                               So when we had an intern that
 17      Marnie recommended for the job, Katrina --
 18      Katrina was able to help schedule meetings and
 19      organize travel, whereas, Lara, with a Master's
 20      degree and a background, you know, in foreign
 21      policy or international relations, was unable to
 22      do that.
 23                               So that was the person, like
 24      Tiffany, that sort of I was -- I had firsthand
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   1     knowledge, right, they're not able to execute the
   2     roles of their position.
   3                               But, you know others, it would be
   4     Marnie sort of bringing it to my attention.
   5                       Q.      So I don't -- I don't want to
   6     interrupt you with your answer.
   7                               But I guess I'm just a little
   8     confused with the conversation about Lara and
   9     Laura, how that plays into the question of what
 10      Marnie did to drive a wedge between you and the
 11      staff?
 12                        A.      Well, Laura, I started -- once I
 13      started to scrutinize, I guess, her work more
 14      carefully, I saw the newsletter she was
 15      preparing.             There were, like, spelling mistakes
 16      and Daniel would be -- you know, to misspell the
 17      name of a university, like, it's embarrassing for
 18      think tank.
 19                                And, you know, it's true.                                     I mean,
 20      it was.
 21                                You know, just I would -- I'm not
 22      like the type to aggressively be managing people.
 23      I'm more, like, lead by example and inspiration.
 24      And she was the opposite approach.
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   1                                It was, like, what time did you
   2     get here?              What did you do for four hours?                                        You
   3     know, like just a different mentality.
   4                                So in either telling me directly
   5     that I had to be on top of people in the way that
   6     she was or, you know, saying it to Gregg so that
   7     Gregg would tell me, you know, you need to better
   8     account for people's time.                             You know, it was
   9     coming from Marnie.
 10                                 Like I would know that Gregg and
 11      Daniel weren't in the office and all of a sudden
 12      Gregg's telling, that's because Marnie told him,
 13      Eman was in her office with the door closed and
 14      now Gregg's telling me you need to account for
 15      Eman's time better.
 16                                 I mean, it's evident to me what
 17      happened.              She went to Gregg and she told, Eman's
 18      not doing whatever -- she had an issue with
 19      him -- like she had an issue with her.
 20                                 She was like -- I don't know.                                           She
 21      was like Draconian in her oversight.                                           She was
 22      very, like, aggressive in, like, this management,
 23      you know, style.
 24                                 And it was just -- it was the
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   1     opposite of what I -- of my personality.
   2                              So together as friends, she would
   3     be very cordial with me.                       We would joke.                         Tell me
   4     about her son.            He had a smoking problem.                                     Or
   5     people she was dating or what her daughter did
   6     or, you know, things in her personal life.
   7                              But then when it came to work, it
   8     was, like, -- you know, a different person.
   9                              And that, you know, person, I
 10      guess, was -- I would just sort of ignore that,
 11      because I had all of the social and
 12      inter-personal stuff with her.
 13                               But, you know, I think in the end,
 14      that contributed a lot to, you know,
 15      deteriorating relations between staff.
 16                        Q.     So is that everything you can
 17      think of with regard to Marnie putting a wedge
 18      between you and your staff?
 19                        A.     I believe so.                   Lara, Laura, Eman,
 20      Tricia, Lisa, Katrina, Delaney.                                 Maybe Thelma,
 21      also.
 22                               I think -- I remember one day they
 23      had an argument or a fight or something and then
 24      I think Marnie was making the case that Thelma
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   1     needed to go, that she was there for a while and
   2     she's past her time.                   Something like that.
   3                              But, you know, I'm pretty sure
   4     that's all -- oh, there was then Judy.
   5                              Judy said there wasn't enough
   6     Hanukkah decorations and she wanted more.                                               Like
   7     they decorated the office for Christmas and she
   8     thought, you know, it should be equal or there
   9     should be multi-denominational, you know,
 10      decorations or whatever.
 11                               Then it was something with Judy.
 12      Look, I don't recall that that's her
 13      responsibility to find fault as an HR person.
 14      That would be every single person.
 15                               But if I start going back in my
 16      mind, I can think of issues that she took with
 17      every single person for the most part.
 18                        Q.     So I don't need you to do that,
 19      because the question that's in front of you right
 20      now is how Marnie specifically --
 21                        A.     I understand now --
 22                        Q.     -- drove a stake between you and
 23      your employees.
 24                               So is -- have you -- do you feel
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   1     like you have listed everything you can think of
   2     with regard to that specific inquiry?
   3                       A.      Yes.
   4                       Q.      Okay.          You mentioned in -- well,
   5     first of all, let me ask you this.
   6                               So you said that Marnie had wanted
   7     you to keep a better handle on what Eman was
   8     doing in her office and that she wanted you to
   9     hold Lara and Laura accountable for the quality
 10      of their work, correct?
 11                        A.      No.        She never came in and said,
 12      like, Laura needs to do better work.
 13                                She never came in and said, like,
 14      Lara's not doing a good job.
 15                                Like Lara and Laura just happened
 16      to become friends, because they were hired at the
 17      same time.             So they were eating lunch together,
 18      they were in each other's offices.                                       They were,
 19      you know, whatever.
 20                                She seemed to like that, them
 21      being, like, buddy, buddy.
 22                                Eman -- I think Marnie went on
 23      Twitter and found that, you know, she was
 24      tweeting during work and said, like, look, this
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   1     is what she's doing in her office with the door
   2     closed.                Like she's on Twitter, she's not doing
   3     work.
   4                                  So she's never telling me, like,
   5     you need to keep better time or, you know, with
   6     anybody.
   7                                  But it was mostly, like, look --
   8     you know, like what are they doing?                                            Or just
   9     expressing doubt about their -- what they were --
 10      how they were using their time.
 11                        Q.         Well, you mentioned that the
 12      newsletters did have misspellings that Dr. Pipes
 13      was unhappy with, correct?
 14                        A.         I mean, I know -- yeah, there were
 15      misspellings in some of the newsletters, yeah.
 16                        Q.         So in terms of somebody tweeting
 17      during work or putting misspellings into work
 18      products that circulated, her concerns about the
 19      quality of their work and how they were spending
 20      their time were well-founded, correct?
 21                        A.         Well, I guess that's debatable.
 22      If they were founded, they should have been put
 23      into writing.                Any time there was formal issue
 24      with an employee, you know, if there was
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   1     something that happened, I would -- you know, I
   2     knew I had to put it into writing and so that
   3     there was a clear record for obvious purposes.
   4                              But if it was just her coming to
   5     me saying something, like asking me to be the
   6     intermediary, which I'm not HR, and I
   7     shouldn't -- you know, even though Eman was under
   8     me, you know, if there was an issue, she could
   9     have said or held a meeting with me and Gregg or
 10      something along those lines, or Laura, to say,
 11      you know, I'd like to talk about, I don't know,
 12      the work that Laura's doing or -- I mean, in
 13      answer to your -- like, in answer to your
 14      question, it was -- no, we did -- we did have
 15      weekly meetings.
 16                               Like there was always a weekly
 17      team meeting with everyone.                           And then several
 18      occasions Marnie, Gregg and I would, like, go to
 19      lunch, like an Indian restaurant, I think it was
 20      an Indian buffet on Chestnut Street or something
 21      like that, and talk about, you know, these
 22      things.
 23                               So, I mean, this is a long time
 24      ago.          It's hard for me to remember 2017 at this
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   1     point.            Or what was going on in early 2017, which
   2     is when the Lara, Laura, Eman stuff, I believe,
   3     was going on.
   4                       Q.     So would it be fair to say that
   5     you were the supervisor for those individuals
   6     that Marnie was coming forward to talk to you
   7     about their work performance or what they were
   8     doing in their offices?
   9                       A.     I'm sorry.                What was the question?
 10      Is it fair to say?
 11                        Q.     That you were the supervisor of
 12      Eman or Lara or Laura?
 13                        A.     Yeah.          For a time I was Eman's
 14      supervisor.            Then she was promoted to maybe
 15      Acting Communications Manager.                                 So then I no
 16      longer needed to supervise her.
 17                               I never supervised Laura.                                     She was
 18      the Communications Director.                              And Lara was
 19      Gregg's assistant.
 20                               So actually, no, those three
 21      people I never -- I didn't supervise them at all.
 22                               The only people who sent me weekly
 23      reports were Rosiebell, Thelma, Tricia and Eman,
 24      when she was in that role.                           But then, like I
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   1     said, she was promoted and then was no longer
   2     reporting to me.
   3                       Q.      Okay.          You had mentioned in your
   4     prior answer that Lisa made a remark that Marnie
   5     sucks big black cock.                      I know.
   6                       A.      I'm sorry.
   7                       Q.      I know it's funny to hear me
   8     repeat it.             I get it.
   9                               Was Lisa ever disciplined for
 10      making that remark out in the open as you
 11      described it?
 12                        A.      I don't -- I don't know.                                   I mean,
 13      I don't -- I wasn't, like, her disciplinary -- it
 14      wasn't my --
 15                        Q.      I don't know is an acceptable
 16      answer to any of the questions I ask you.
 17                                So if I ask you if she was
 18      disciplined, I don't want you to feel like you
 19      have to search for a better answer.                                         If you don't
 20      know, I don't know is an acceptable answer.
 21                        A.      All right.                I mean, so no, that
 22      specific one, I don't know.                             I know -- I think --
 23      almost certain she was reprimanded for other
 24      things she said.
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   1                              That particular one, I think,
   2     was -- no, because no one was there, except
   3     probably myself -- I would be, like, the highest,
   4     I guess, ranking person other than -- I don't
   5     think she said it in front of Marnie and I didn't
   6     tell anybody that she was yelling that, but --
   7     Marnie had an issue with Lisa's language.                                               I
   8     think she was, like, vulgar.                             She was, like,
   9     loud.
 10                               And I believe that they talked --
 11      they had to talk to her about that.                                       But not that
 12      specific comment.
 13                        Q.     Did Lisa ever make any other
 14      comments about Marnie's sex life out in the open
 15      when they were arguing?
 16                        A.     Other than that one, yeah, that
 17      she -- I can't remember the words, but saying
 18      that, yes, she had, like, I guess, -- maybe had
 19      gotten laid the night before or something, so she
 20      was, like, talking to, I guess, Lisa or them
 21      about it.
 22                               And then I don't remember the
 23      exact words, but like feeling good or something
 24      or that she had a good night or whatever.
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   1                                  And then, you know, would talk
   2     about it.               I mean, she talked -- like, she wasn't
   3     shy to talk about if she was dating someone or if
   4     there was someone -- or, you know, what was going
   5     on in her personal life with me and the other
   6     women in the office.
   7                                  Maybe she was more explicit about
   8     it, about the details with the other women.                                                       But
   9     then it came back, like, you know, the
 10      comments in -- by Lisa were, you know, -- if that
 11      makes sense.
 12                                   So it was, like, you know, she
 13      might share it with me.                           I'm not gonna go blurt
 14      it out.                But she might have shared things with
 15      Lisa and then Lisa blurted it out.
 16                                   I can't -- I'm trying to think of
 17      specific examples, but that's the best I can do.
 18                        Q.         If Lisa or anybody else spoke
 19      about that out in the office when they were
 20      actually at work during work hours, so not at a
 21      happy hour, but at work, was she ever disciplined
 22      or told not to speak like that in the workplace?
 23                        A.         Who, Lisa or Marnie?
 24                        Q.         Lisa.
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   1                       A.       Lisa.          I mean, I feel like I
   2     remember saying, you know, you need to tone it
   3     down.           Like, you know, -- like, Thelma has been
   4     there, like, 30 years or however many years.                                                       And
   5     she's, you know, older -- I mean, she's on the
   6     other side of the office but it could still be
   7     heard.
   8                                And there were young -- you know,
   9     young girls we had just hired, either interns.
 10      You know, if Katrina was still an intern or
 11      whatever.
 12                                 So I remember -- you know, that
 13      atmosphere never existed at MEF until -- in the
 14      beginning.             It was always, you know, be very
 15      careful about what you say in the office.
 16                                 And then it changed, you know,
 17      over time when Marnie and Lisa started talking
 18      about, like, male escapades or their personal
 19      stuff.
 20                                 You know, I think that's -- that
 21      led to the -- I don't know, deterioration.                                                    It
 22      was -- like everybody knew not to do it in front
 23      of Gregg.              Like, because it -- Gregg is acting
 24      director or, you know, director, acting
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   1     supervisor over everyone in the office.
   2                                Even if I or Gary or someone else
   3     made, like, you know, a borderline comment, like,
   4     we would get chewed out for it.                                    Like, it's not
   5     appropriate in the workplace, whatever.
   6                                And we had a sexual harassment
   7     training or workshop.                       We had a security
   8     workshop.              Whatever.
   9                                As soon as Gregg was out of the
 10      picture, it was, like, you know, you could say
 11      whatever -- I don't know, say whatever you want.
 12      Like Matt's not going to be the one to come down
 13      with an iron fist and reprimand us.
 14                                 And with all fairness, you know,
 15      that was the thought.                       And it was probably right.
 16      I was not -- I was not putting everybody on,
 17      like, lockdown.
 18                                 But I can see now, in hindsight,
 19      obviously needed, you know, in that type of
 20      environment, when you're dealing with these types
 21      of personalities.
 22                        Q.       So do you feel that the -- that
 23      the environment at MEF, that the conversations
 24      became more about sex and more vulgar after
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   1     Mr. Roman's departure from the office?
   2                       A.       I'd have to say yes.                              I don't
   3     remember anybody else ever talking about their
   4     like sex life, so to speak, other than -- other
   5     than Marnie.
   6                                I could go through them, obviously
   7     not -- not Thelma, not Lara and Laura.                                              Certainly
   8     not Eman.              Certainly not Judy.
   9                                The only open relationship on the
 10      table was Marnie.                   Then Lisa and Tricia come on
 11      board, and Katrina and Delaney.                                    Things, I guess,
 12      loosened up.
 13                                 I mean, we felt like we were
 14      creating like a real, you know, cohesive team of,
 15      you know, capable, qualified people that, you
 16      know, we were happy to socialize with outside of
 17      work.
 18                                 So, you know, I guess people let
 19      their roles down -- or let their guard down so to
 20      speak and became more free speaking.
 21                                 But, yeah, definitely after, I
 22      guess, you know, Gregg left.                                I mean, I never
 23      thought about it like that but, yeah.
 24                        Q.       So you talked a lot about your
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   1     relationship with Marnie and you mentioned
   2     several times that you would go out for happy
   3     hour and drinks and socialize with Lisa Barbounis
   4     and Patricia McNulty.
   5                              On those occasions, was Marnie
   6     present?
   7                       A.     Some of them.
   8                       Q.     Okay.
   9                       A.     I mean, I would say, like,
 10      50 percent.
 11                        Q.     Would you classify yourself, prior
 12      to your separation from MEF, as having been
 13      closer with Lisa and Patricia than with Marnie?
 14                        A.     Would I -- I'm sorry.                              Say it
 15      again?
 16                        Q.     Yeah.
 17                               Would you say that you were closer
 18      with Lisa and Patricia than you were with Marnie
 19      prior to your separation from MEF?
 20                        A.     Like you mean on the day that I
 21      resigned, what was the status of my relationships
 22      with them?
 23                        Q.     No.
 24                               I'm asking you -- I'm trying to
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   1     get -- to limit it in space and time for you only
   2     but I'm just asking you in generally if you felt
   3     closer with Lisa and Patricia than you did with
   4     Marnie?
   5                       A.      Oh, yeah.              Over time, I started,
   6     you know, feeling much closer with Lisa and
   7     Tricia, I guess.                 But it was never, like, -- I
   8     mean, it was only after I believed that Marnie
   9     was, like, trying to undermine me in the office.
 10                                So, I mean, I guess, like -- like
 11      it varied.             Obviously Marnie was the closest
 12      person that I had on, you know, the -- since the
 13      beginning, since my time there.
 14                                And then after Gregg left and I
 15      was named point person -- so from 2016 to end of
 16      2018, I was, you know, obviously closer to
 17      Marnie.
 18                                Then something happened while I
 19      was in Jamaica.                I feel like she had it out for
 20      me.        And, you know, naturally my natural response
 21      would probably have been to detract from her and,
 22      you know, become closer with Lisa and Tricia.
 23                                I mean, I can't prove that she
 24      wanted me -- to have me fired.                                  But I would -- if
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   1     I had to guess today, I would say that the same
   2     way she did with it -- like started doing it with
   3     every other person, Gary, Eman.                                 Like, I believe
   4     she would have done it with me, too.
   5                              I have no reason to believe she
   6     would not have done it with me, based on watching
   7     her interactions with those people.                                       It always,
   8     like, jovial and, you know, good -- good
   9     relationships, just like me.
 10                               And then but behind the scenes
 11      was, well, look at Gary, look at Eman, look at
 12      Lisa.           She called Lisa a cancer that needed to be
 13      removed.
 14                               But, you know, I can't pinpoint
 15      and answer your question how often, if it was all
 16      of us together.              But, you know, when it was, it
 17      would be, you know, we were -- it was, like, our
 18      work hats were off.
 19                               You know, if Lisa was talking
 20      about her relationship or her marriage or a guy
 21      that Tricia was dating that I knew or met on
 22      Bumble that I knew or whatever it was, that
 23      Marnie was looking to -- for a relationship or
 24      her ex-husband or whatever, that she would tell
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   1     me about, it was all in the open.
   2                                Like, it was -- it's hard to say,
   3     like, who I was closer with.                                It was just not
   4     thinking about it, you know, in those terms.
   5                                But knowing me, as soon as I got
   6     the feeling that she was probably not as genuine
   7     as I thought she was, I would have veered to, you
   8     know, other people.
   9                                I was going through a difficult --
 10      I had lost a baby.                    It was, like, rough with my
 11      wife.           So I really felt, like, my co-workers were
 12      all like my family.                     They were colleagues,
 13      friends and family.
 14                                 When we got pregnant, like, those
 15      were the people that I told that Holly was
 16      pregnant.              And when we lost the baby, those were
 17      the first people we told that we lost the baby.
 18                                 You know, not even my -- you know,
 19      my closest friends and family from childhood.                                                        It
 20      was them.              Because we spent all day together in
 21      the office, we socialized in the evening.
 22                        Q.       Okay.          So I will always let you
 23      finish your answers to my questions, but -- we
 24      will get through this faster if you just listen
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   1     to the question that I'm asking and try to stick
   2     to that.
   3                       A.     I'm sorry.
   4                       Q.     I'm not going to interrupt you
   5     when I just -- when I promised you I'll go fast,
   6     you are sort of the beholder of your own destiny.
   7     There for the time -- I'll leave that with you.
   8                       A.     All right.               I'll try to make --
   9                       Q.     I'll leave that with you.
 10                        A.     All right.
 11                        Q.     With regard to the work
 12      environment at MEF, you have described that, you
 13      know, there was some tension between Marnie and
 14      Lisa, at least.
 15                               Can you describe sort of what the
 16      everyday work environment at MEF was like?
 17                        A.     All right.               So I'm gonna try not
 18      to go on forever.
 19                               But was -- everybody mostly
 20      arrived to the office around 9 a.m.                                       And, you
 21      know, on days that there were guests or meetings,
 22      Daniel was going to be meeting with a donor or
 23      Gregg -- if we had vendors in, you know,
 24      everybody would be dressed up, suit and tie, like
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   1     business professional.
   2                              On days that that was not the case
   3     we'd be in business casual or just casual.
   4                              You know, everybody had the
   5     privacy of their own offices, the doors and they
   6     had their own desk.
   7                              For lunch, you know, sometimes,
   8     you know, everybody would go out to lunch
   9     together or bring back food from the -- you know,
 10      restaurant and eat in the conference room.
 11                               And I don't know, that's the -- I
 12      don't know what type of, you know, information
 13      you're looking for, but --
 14                        Q.     So, you know, you had mentioned
 15      that Lisa and Marnie sometimes would get into it
 16      in the office.
 17                               Was there anybody else who had
 18      tensions in the office or would you say it was
 19      only Lisa and Marnie?
 20                               MS. DiBANCA:                  Erica, may I
 21                        interrupt to ask, do you want to give him
 22                        a date range?
 23                               MS. SHIKUNOV:                    Sure.            You know
 24                        what, we can --
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   1                              THE DEPONENT:                    Yeah, that's --
   2     BY MS. SHIKUNOV:
   3                       Q.     Let's divide that up.                               Let's
   4     divide that up.
   5                              So I am going -- for most of our
   6     depositions, we sort of talked about the work
   7     situation pre-November 1st, 2018, and then
   8     post-November 1st, 2018.
   9                              So I'm going to ask you the same
 10      question twice with those date ranges in mind.
 11                               So first I'm going to ask you,
 12      other thing than between Lisa and Marnie, prior
 13      to November 1st of 2018, whether tensions with
 14      anybody else -- amongst anybody else in the
 15      office that you were aware of?
 16                               And I'm not asking you to talk
 17      about something you're not aware of.                                         So don't
 18      guess.            Just tell me what you personally were
 19      aware of.
 20                        A.     Yeah.          I mean, I just got to think
 21      about it for a minute, like go through my head of
 22      who's there when I was hired.
 23                               MS. DiBANCA:                  Erica, do you want
 24                        him to go back to when he was hired or
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   1                       just during Ms. O'Brien's employment?
   2                               That's fine.
   3                               Well, they started together.
   4                               MS. SHIKUNOV:                    Okay.            I'm trying.
   5                               THE DEPONENT:                    All right.                   So
   6                       we're pre-November 1st.                         It would be --
   7                       the first one would be Marnie and Tiffany
   8                       Lee.   And then Marnie and Lara.                                   Then
   9                       Marnie and Stacy.
 10      BY MS. SHIKUNOV:
 11                        Q.      Stacy Roman?
 12                        A.      And Gary.              Sorry.              I think there
 13      was something with Gary, yes.
 14                                Stacy Roman, yeah.                           And something
 15      with Gary.
 16                                So those -- who else was there
 17      when I started?                Oh, Rosie.               Maybe Rosiebell
 18      Maria.            But that was, like, in the very
 19      beginning.             I can't remember what that was about.
 20                        Q.      Okay.          And are you, when you're,
 21      like, wracking your brain and thinking these
 22      things through, are you recalling specific
 23      incidents where there was tension in the office?
 24      Or are you recalling that there was just overall
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   1     breakdown in the relationship between those
   2     individuals?
   3                       A.         I believe with Tiffany it was --
   4     they were, like, -- or they were, like, -- it
   5     was, like, -- they wanted control -- it was,
   6     like, who was in control when Gregg's away?                                                       Was
   7     it Tiffany or was it Marnie?
   8                                  And, you know, I was never in, I
   9     guess, any meeting or I wouldn't have been privy
 10      to that.               But I could tell that that was an
 11      issue.
 12                                   With Stacy, Marnie needed to
 13      reconcile -- Stacy managed SalesForce database.
 14      And Marnie managed the books.                                   So there would
 15      have to be reconciliation, so they would have to
 16      meet regularly.
 17                                   There was some issues that were --
 18      that they wouldn't be able to meet or that she
 19      wouldn't -- oh, that's right, before Stacy, it
 20      was Rosiebell.                 So Rosiebell was the database
 21      administrator before Stacy -- or had those
 22      responsibilities.
 23                                   So Rosie would have to meet with
 24      Marnie.                And then Stacy would have to meet with
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   1     Marnie.                And they both seemed to have, I don't
   2     know, -- like, issues meeting with her.
   3                                  I can't remember what that was
   4     exactly.               Maybe -- I don't know --
   5                       Q.         Don't guess.                  If you don't know --
   6     because I was just asking you if you recalled the
   7     nature of the complaints you were raising were
   8     with regard to specific incidents or generally.
   9                                  And I literally just -- that was
 10      all the information that I was for asking.
 11                        A.         Yeah.          Okay.          So Tiffany I told
 12      you.
 13                                   I believe she said Gary was, like,
 14      dirty and he smelled.                         I'm sorry.                  But -- I think
 15      that was -- that and -- what was it Lara was --
 16      and Laura were inappropriately maybe dressed.
 17      Something like that.                        Weren't professionally --
 18      didn't have professional attire on when either
 19      for some event or maybe just in general in the
 20      office.                I just remember it had something to do
 21      with clothes.
 22                                   Yeah, that's right.                            Because Laura
 23      was an assistant, she handled reimbursements,
 24      something like that.                        Something about -- I don't
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   1     know, business expenses or on the MEF card,
   2     something like that.
   3                       Q.       Okay.          So what you're describing
   4     to me it sounds like there were issues regarding
   5     specific incidents.                     Is that a fair -- fair
   6     generalization?
   7                       A.       I think so.                 But that's -- I mean,
   8     like, there's two answers.
   9                                There's my perspective at the time
 10      and what I believe now.                         So my perspective at the
 11      time, yes.             What I believe now is no.
 12                        Q.       Why do you think something
 13      different now?
 14                        A.       Just looking at everything from
 15      30,000 feet, it seems like there's a pattern of
 16      taking issue with the way that it was gone about
 17      with various people.                      And, you know, -- well,
 18      they're not there anymore.
 19                                 Those people don't work at the
 20      organization anymore.                       Gary, Eman, Larry [sic],
 21      Laura, Tiffany.
 22                                 They all -- I think, Eman
 23      resigned.              Maybe she got a better position
 24      elsewhere or she got to do Vegan restaurant
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   1     thing, whatever she wanted to.
   2                                  But everybody else, I believe, was
   3     let go.                And really the only people in the office
   4     who would have been able to see day-to-day.
   5                                  Like, their work performance would
   6     have been myself and Marnie in, like, managerial
   7     position capacities.
   8                                  It wasn't me who was, like, I
   9     don't know urging for anybody's termination or,
 10      like, seek -- or, you know, out for that.
 11      Whatever.
 12                        Q.         I'm sorry.                I need to interrupt
 13      you for a second.
 14                                   You said everybody was let go.
 15      Did you feel that Marnie was pushing to let
 16      people go who didn't desire to be fired?
 17                        A.         I think she knew it was naturally
 18      better finance-wise that there was less people on
 19      payroll meant more responsibility for the people
 20      who are in the organization or remain in the
 21      organization.
 22                                   I mean, I can't say, yes, Marnie
 23      wanted to fire people, but, I mean --
 24                        Q.         Well, you just did testify to
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   1     that.           And my question to you is, if you felt
   2     that Marnie was pushing to fire people, do you
   3     feel she was pushing to fire people who didn't
   4     deserve to be fired?
   5                              Put another way, do you think MEF
   6     fired somebody who didn't desire to be fired?
   7                       A.     No.       I mean, everybody who was let
   8     go had good -- while I was there that I saw had
   9     good reason.
 10                        Q.     Okay.
 11                        A.     You know, when it came time to
 12      talk about their work performance, like, yes, I
 13      would say, like, all right, I don't think Tiffany
 14      knows what she's doing with the sales for force
 15      database migration.
 16                               And Lara is not able to schedule
 17      all the travel and the meetings.
 18                               And, you know, Eman could be
 19      making better use of her time.                                And Laura --
 20      Laura would bring more to the table as a
 21      Communications Director with the background and
 22      qualifications that she had.
 23                               So it's, like, -- it was, like,
 24      the issues were dropped in, like, engineered and
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   1     then eventually in the future, like, well, Matt,
   2     what do you think about Lara's performance?                                                  What
   3     do you think about, you know, this person, you
   4     know, in general?
   5                              And then I'd have to think about
   6     it and do, like, a serious assessment, make sure,
   7     you know, I'm being diligent or -- you know,
   8     what's in the best interests of the organization
   9     to fulfill its mission.
 10                               But balance that with -- you know,
 11      with fairness to, you know, the people.
 12                               So I always tried to do that.
 13                        Q.     So, Mr. Bennett, I'm going to ask
 14      you another question now.
 15                               But I just want to draw you to the
 16      attention fact that I asked you simply if MEF
 17      ever fired somebody that didn't desire to be
 18      fired, and we got probably three or four minutes
 19      of response back to a yes or no question.
 20                               So I'm gonna let you finish --
 21                        A.     No.       All right.                 Thank you for
 22      pointing it out.
 23                        Q.     I'm just pointing out to you that
 24      I can only help you so much in terms of getting
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   1     out of here quickly.
   2                       A.     I understand.                   My answer is no.
   3                       Q.     Okay.         So I'm going to ask you
   4     that question about tensions or workplace
   5     interactions post-November 1st, 2018, through
   6     your separation in early 2019.
   7                       A.     So the question -- sorry.                                    Just
   8     repeat it one more time.
   9                       Q.     Sure.
 10                               You had mentioned that there were
 11      workplace tensions between Lisa and Marnie.
 12                               Were there any other tensions in
 13      the MEF workplace between November 1st, 2018, and
 14      your separation, I believe, at the end of
 15      February 2019?
 16                               So we're talking about a four- or
 17      five-month period.
 18                        A.     Yeah, I believe all of the girls
 19      were -- I mean, it was obvious to Stacy that it
 20      was not going to be a comfortable work
 21      environment for her.                   But if she went remote,
 22      meaning she continued working, but, like, from
 23      obviously remote working -- everybody knows what
 24      that is now.           So there was that.
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   1                                Not that I could think of.                                      I
   2     mean, Marnie would say to me behind the scenes
   3     about Tricia, but I don't think she ever said
   4     anything -- maybe, I don't know, with Tricia and
   5     Marnie.
   6                                Definitely with Lisa and Marnie.
   7     I think the thing with Thelma was before
   8     November 2018.
   9                                Yeah, I think that was -- I think
 10      that's -- I mean, I don't think there would be
 11      anybody else.
 12                                 I mean, as far as, like, the
 13      people in the office, there was maybe something
 14      with, I don't know, remote people.                                        Like what is
 15      people that worked in DC or around the world or
 16      wherever.              Like we're paying them this money and
 17      what are they doing with their time?                                           That was,
 18      like, constant.
 19                                 You know, like does this one
 20      deserve them what we were paying them?                                              They were
 21      asked to go to the office -- you know, they sit
 22      at home or whatever.
 23                                 I think -- I believe that that's
 24      it.
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   1                       Q.       I also believe --
   2                       A.       It was like Game of Thrones.
   3     Marnie was the referee or something like that.
   4     Survivor.              Or whatever.
   5                       Q.       You felt like the work environment
   6     was like Game of Thrones or Survivor?
   7                                MS. DiBANCA:                  I'm just going to
   8                       object to the form of the question.                                           You
   9                       can answer.
 10                                 (Reporter read back last
 11                                   question.)
 12                                 MS. DiBANCA:                  And then I put my
 13                        objection on the record.
 14                                 THE DEPONENT:                    Yeah.            So, I mean,
 15                        we're talking about, like, the way
 16                        that -- I don't know, I felt that Marnie
 17                        made it feel.             Or, like, that -- you
 18                        know, from the issues with employees.
 19                                 Like, yeah, that was -- yeah, I
 20                        guess that's how it felt.                             Not in the
 21                        beginning, but yeah, that's how it felt
 22                        after November 2018.
 23      BY MS. SHIKUNOV:
 24                        Q.       Okay.          I am gonna move on from
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   1     this line of questioning.                             And I'd like to take
   2     just, like, a two- to five-minute comfort break
   3     really quickly.                  And then we'll come back on the
   4     record.
   5                                 MS. DiBANCA:                  Yep.           Perfect.
   6                                 MS. SHIKUNOV:                    You okay with that?
   7                       So why don't we come back at, like, --
   8                       it's 10:13, so I don't know, 10:18 feels
   9                       like a weird time to come back.                                      But
 10                        that's five minutes.
 11                                  THE DEPONENT:                    All right.                   Fine.
 12                        So do I stay -- should I log out and come
 13                        back in?
 14                                  MS. SHIKUNOV:                    No.         Stay logged
 15                        in.    If you want to mute yourself or turn
 16                        off your camera, that's perfectly fine.
 17                        But I would definitely don't disconnect
 18                        the call.
 19                                  THE DEPONENT:                    Okay.
 20                                  MS. DiBANCA:                  Just turn off the
 21                        video and audio.
 22                                  THE VIDEOGRAPHER:                          Off the record
 23                        at 10:13.
 24                             (Recess.)
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   1                              THE VIDEOGRAPHER:                          On the record,
   2                       the time is 10:25 a.m.
   3     BY MS. SHIKUNOV:
   4                       Q.     Okay.          So I'd like to shift gears
   5     from talking about the general environment at MEF
   6     and talk about some of the specifics of this
   7     case.
   8                              So I want to talk to you sort of
   9     the timeline of events as they transpire and get
 10      your recollections about what happened.
 11                               So it's my understanding that on
 12      October 30th, 2018, Lisa Barbounis and Marnie
 13      O'Brien had a pretty explosive argument in the
 14      office.
 15                               Do you recall that day, if that
 16      was --
 17                        A.     I believe I wrote a report about
 18      it, yeah.
 19                        Q.     Can you tell me as you sit here
 20      now what specifically you recall about that day?
 21                        A.     October -- so I was on my way into
 22      the office, I think.                    But before I got there, I
 23      was -- Marnie told me there was a closed-door
 24      meeting going on.                 What's it about?                         I didn't
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   1     know.
   2                              I got to the office.                             I hadn't had
   3     coffee or anything yet and I think I went to see
   4     what it was about.                 And maybe because it was kind
   5     of awkward of me to interrupt a meeting to say,
   6     like, hey, what are you guys working on or
   7     whatever or something.
   8                              And I believe Marnie told me there
   9     was a closed-door meeting.                          So I came to see what
 10      it was about.
 11                               Later on I went to the bathroom.
 12      I came back from the bathroom.                                They were
 13      shouting -- Marnie and Lisa were shouting at each
 14      other.
 15                               She was -- she told me I had a big
 16      mouth because I repeated something that she had
 17      said.
 18                        Q.     Who is she?
 19                        A.     Marnie.           If this is the day that
 20      I'm thinking of.               I don't remember exactly what
 21      they were screaming.                   I wrote it down -- I mean,
 22      I'm pretty sure I wrote it down.                                   But there
 23      was -- she left the office, slammed the door.
 24      And obviously everybody could hear it or whatever
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   1     was -- you know, whatever transpired.
   2                              Yeah, I'm pretty sure that was it.
   3     It was a closed-door meeting in Lisa's office.                                                      I
   4     came in trying to figure out what was going on.
   5                              I think I told Marnie whatever it
   6     was.          I think Lisa got the feeling that I was,
   7     like, you know, like, hey, what are you doing?
   8     Which is unnatural for me -- I'm not -- for me to
   9     do stuff like that or what's the meeting about.
 10                               Yeah.         And then I came back from
 11      the bathroom, they're yelling at each other.
 12      Marnie storms out of the office.
 13                        Q.     Okay.         And then it's my
 14      understanding that they had some sort of coffee
 15      or bench meeting on October 31st, the very next
 16      day, to work it out.
 17                               Do you have any knowledge about
 18      that?           And, again, I would remind you that if you
 19      don't, that is also a satisfactory answer.
 20                        A.     I don't know if that's the meeting
 21      to work it out.              But there was one morning where
 22      I was in an Uber on the way to work.
 23                               I get a message from one of them
 24      that said, can you meet at Starbucks?
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   1                       Q.         We're gonna talk about that in a
   2     minute.                Right now we're talking about the 31st.
   3                       A.         Yeah, I don't even know what that
   4     is --
   5                       Q.         Okay.          And that's a perfectly fine
   6     answer.
   7                                  So the next day, November 1, 2018,
   8     Marnie presented Dr. Pipes with a handwritten
   9     report containing sexual harassment allegations
 10      about Mr. Roman, as well as other complaints
 11      about Mr. Roman's management.
 12                                   Did you ever meet or discuss that
 13      report with Marnie, Lisa or anyone else?
 14                        A.         Yeah, that's what I was saying
 15      before.
 16                        Q.         Okay.
 17                        A.         Was that on -- I guess if that's
 18      the date, November the 1st, I was in an Uber.                                                          I
 19      was asked to meet at Starbucks.
 20                                   I got to Starbucks, Marnie and
 21      Lisa, on 16th and Arch.
 22                                   Marnie and Lisa are sitting at the
 23      table.            Lisa had her arms crossed.                                I don't know
 24      if they were fighting.                          I thought they were
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   1     arguing.
   2                              And Marnie told me, I want to let
   3     you know what you're walking into.                                     We told
   4     Daniel everything.
   5                              And then she showed me, I believe,
   6     like a screen shot of her phone that she sent
   7     him -- she telegrammed him the letter.
   8                              She texted him the -- she wrote
   9     something by hand.                 Whenever she showed me and I
 10      tried to read it, but it was in cursive and I
 11      couldn't really understand.
 12                               So I said, what is -- what are
 13      you, you know, telling me this for?                                       She said,
 14      because you're mentioned in the letter and I want
 15      to know what you're walking into, something --
 16      you know, we've had enough of Gregg and the gist
 17      of it was, like, you know, you're with us or
 18      against us.
 19                        Q.     That's really important.                                  So when
 20      you say the gist of it was, you're with us or
 21      against us, did Marnie or Lisa expressly state
 22      that to you or that was the feeling you got after
 23      meeting with them?
 24                        A.     That was a -- the feeling I got.
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   1     It wasn't -- like after -- when we left the
   2     Starbucks and walked back, it wasn't like, oh,
   3     Matt, it's going to be okay.                             Whatever.                 They
   4     weren't storming to the office.
   5                              It wasn't -- I don't know, like,
   6     Matt, we want you to know, because, you know, we
   7     know you're going through, you know, some tough
   8     things right now.                You have a baby at home and
   9     whatever else.
 10                               It was like -- we told Daniel,
 11      like, the dirt.              And now things are gonna become,
 12      like, start popping up in the office and just
 13      want to give you the heads up, which I now
 14      believe was, like, they wanted me to also hammer
 15      at Daniel also about Gregg.
 16                        Q.     Why do you believe that?
 17                               I'm sorry, I cut you off.                                    I
 18      thought you were done.
 19                        A.     Because after the meeting on
 20      November 5th, we went to that same place, that
 21      16th and Arch, except this time we were at tir na
 22      nOg with Thelma and the entire staff, Katrina,
 23      Delaney.
 24                               And Lisa said, you're a fucking
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   1     pussy and pointed in my face.                              Said you're a
   2     fucking pussy.            And Marnie said, I'll never trust
   3     you ever or I'll never trust you again or
   4     something along those lines, because I didn't
   5     rise up in that meeting to drive a stake through
   6     Gregg's heart, like I guess they taught I was
   7     going to do after they told me on the 1st that
   8     that was happening.
   9                       Q.     Why do you think they thought you
 10      would do that?
 11                        A.     I mean, I guess -- I mean, I can't
 12      tell you why I would think that they would do
 13      something, but --
 14                        Q.     Let's rewind a little bit, because
 15      I think we glossed over the meeting itself.
 16                               So there was -- Marnie files this
 17      complaint with Dr. Pipes.                         And shortly
 18      thereafter, there was a meeting that was held in
 19      the office, I believe, on November 4th or 5th.
 20                               Is that the meeting you were just
 21      discussing?
 22                        A.     Yes, the first -- you know,
 23      whatever -- there was only really one meeting,
 24      you know, at that time.
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   1                       Q.     Who do you remember being at the
   2     meeting?
   3                       A.     Everyone.             Everyone but Gregg
   4     who -- I think he was supposed to be there and
   5     then he was told not to come.
   6                       Q.     How do you know that?
   7                       A.     Daniel told us when the meeting
   8     started, I believe, Gregg will not be coming.
   9     Something like that.
 10                        Q.     How do you know he was told to
 11      come initially?
 12                        A.     It was -- I don't remember the
 13      context of it, but it was -- like he was gonna be
 14      confronted on whatever was in the letter.                                               I
 15      believe that was the purpose of it.
 16                               I mean, I --
 17                        Q.     Everyone was at the meeting.
 18      Everyone can mean everyone in the City of
 19      Philadelphia.            Everyone can mean everybody who's
 20      local to that office.
 21                               So to the extent you can recall
 22      any specific individuals who were present at the
 23      meeting, I would ask you to do that.
 24                        A.     Everyone who was employed in the
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   1     Philadelphia -- in the main office.
   2                              So if we go around the table, it
   3     was Lisa, myself, Marnie, Daniel, Stacy, Tricia,
   4     Katrina, Delaney, Thelma.
   5                       Q.     Okay.         And what do you recall --
   6                       A.     And Marc Fink.                    Sorry.              I believe
   7     Marc was there, but I'm not, you know, like
   8     positive on that.
   9                       Q.     What do you recall being discussed
 10      at the meeting?
 11                        A.     Daniel said there were issues that
 12      have been raised and we wanted to sort it out or,
 13      you know, to hear firsthand what was -- what was
 14      going on.
 15                               And then -- then everybody just
 16      started coming out with stuff.                                You know, their
 17      own -- everybody had another story or argument,
 18      allegation, et cetera.
 19                        Q.     There were some allegations that
 20      were made about Gregg's behavior in Israel when
 21      he took a trip with Lisa Barbounis.
 22                               My first question to you is, did
 23      you have knowledge of those allegations prior to
 24      the meeting on November 5th, 2018?
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   1                       A.     I was shown text messages, I
   2     believe, that Lisa had sent to Tricia but then
   3     deleted and sent back to Lisa.
   4                              And then she showed them to me
   5     saying whatever, you know, -- describing what
   6     took place there -- what she says took place
   7     there.
   8                       Q.     Do you recall when she showed
   9     those to you?
 10                        A.     I mean, it had to be after -- no.
 11      I mean, obviously sometime after the trip and
 12      before the November 5th meeting.
 13                        Q.     You were originally invited to go
 14      on that trip, correct?
 15                        A.     To Israel, yeah.
 16                        Q.     Yeah.         And then you ultimately
 17      couldn't go and then Marnie was invited to go,
 18      correct?
 19                        A.     Yeah, I believe so.
 20                        Q.     Do you have any knowledge as to
 21      why Marnie declined to go?
 22                        A.     I think she said later that -- I
 23      don't know, that -- I don't know if she was not
 24      scared of going to the Middle East, but I don't
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   1     know, she has two teenagers at home.                                         I really
   2     don't know the -- what her reason was.
   3                       Q.     If you don't know, that's an
   4     acceptable answer.                  I don't want to you guess.
   5                       A.     Sorry.           I don't know how to play
   6     this game again.                I don't know.
   7                       Q.     This is an exercise trying to
   8     ascertain what you know.                        So we don't want you to
   9     guess at things.
 10                               Okay?
 11                        A.     Yep.
 12                        Q.     With -- there were other
 13      complaints of sexual harassment that were made
 14      about Gregg Roman.
 15                               Did you ever hear any complaints
 16      about Gregg sexually harassing or making comments
 17      of a sexual nature to the women who worked at the
 18      Philadelphia office?
 19                        A.     No.
 20                        Q.     And do you recall those
 21      allegations being discussed at the November 5th,
 22      2018, meeting?
 23                               MS. DiBANCA:                  I'm just gonna
 24                        object to the form of the question.                                         But
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   1                       you can go ahead and answer.
   2                                 THE DEPONENT:                    To be honest with
   3                       you, no, I don't remember specifics.
   4                                 I was, like, traumatized myself --
   5                       outside of this, I had personal stuff
   6                       going on.          And I remember -- I mean, it
   7                       was, like, -- I don't know, like, six
   8                       people talking at once.                           And, you know,
   9                       Stacy trying to defend or make sense of
 10                        like, you know, certain things that
 11                        people were saying.
 12                                  They were, like, you know -- like
 13                        jumping down her throat every time she
 14                        tried to get a word out.
 15                                  I remember I, like, defended
 16                        Stacy.      Oh, yeah, that's right.                                  I
 17                        defended Stacy.                And that was like --
 18                        like I would have done any other person
 19                        that was my subordinate who was crying in
 20                        the middle of a meeting with -- being
 21                        attacked by everybody.
 22                                  And because I did that, that was
 23                        perceived as that I was a loyalist to
 24                        Gregg and, therefore, was a pussy and
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   1                       couldn't be trusted.
   2                              And that, I mean -- and that
   3                       really is my sort of part in it.
   4                              I think I said something, like, --
   5                       there was an account or there was a donor
   6                       that I had been building, like, a
   7                       relationship with for the purpose of,
   8                       like, a big gift.                And, you know, I
   9                       thought that I was going to see that,
 10                        like, to fruition.
 11                               Instead like, you know, Gregg was
 12                        like, all right, Matt, thanks, we'll take
 13                        it from here.
 14                               And that, you know, I was -- I saw
 15                        that as my chance to, like, prove, you
 16                        know, myself to them and the
 17                        organization.
 18                               But, no, I didn't have knowledge
 19                        of what was -- you know, later I see what
 20                        they said.
 21                               I know they were -- I guess they
 22                        were talking about it.                       I don't know how
 23                        much detail they said or they gave to
 24                        Daniel in the room.
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   1                                I remember looking over at Thelma,
   2                       who was just sitting with her eyes closed
   3                       letting it all wash over her, but other
   4                       than that, that's my --
   5     BY MS. SHIKUNOV:
   6                       Q.       What does the donor have to do
   7     with anything?
   8                       A.       I mean, everybody was complaining
   9     about Gregg, so I injected a complaint that, you
 10      know, I thought that he wasn't --
 11                        Q.       Okay.          That was a little -- that
 12      seemed a little out of left field.                                        I wasn't sure
 13      where that came from.
 14                        A.       That was my contribution to the --
 15                        Q.       Okay.
 16                        A.       -- to the --
 17                        Q.       Meeting?
 18                        A.       -- Gregg's assassination.                                     Like
 19      whatever.              You know, like that was my qualm.
 20      Like I really didn't have any other issues to
 21      raise like, you know, because he hadn't wronged
 22      me.        I didn't have knowledge of any -- of
 23      anything to, like, support what was being said.
 24      So that was -- you know, when it came my turn,
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   1     that's what I put out there.
   2                       Q.     In retrospect, do you think it was
   3     fair to Stacy to have her at the meeting?
   4                       A.     I can't remember -- I mean, I
   5     think -- I don't know if she wanted to be there.
   6                              But, I mean, I know that she
   7     either didn't believe or disagree with a lot of
   8     the stuff that -- it was fair to Stacy or fair to
   9     the other people?
 10                        Q.     I'm asking you about Stacy right
 11      now.          We'll talk about the other people in a
 12      minute.
 13                        A.     So do I think it was fair to her
 14      to have her there?
 15                        Q.     Correct.
 16                        A.     I don't know.
 17                        Q.     Okay.         And do you think, given the
 18      sensitivity and the nature of the complaints that
 19      were being raised by the women, it was
 20      appropriate to have the alleged sexual harasser's
 21      sister sit in on the meeting?
 22                        A.     She was a member of the staff and
 23      it was an all-staff meeting.
 24                               If she -- I mean, it was gonna be,
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   1     does anybody have knowledge of this, anybody
   2     witness that.             That's you know what, I guess, we
   3     thought was going to be taking place.
   4                               As somebody who sat in the office
   5     all day, every day, five days a week, then she
   6     would have been asked or required to be here.
   7                               So I guess to answer your
   8     question, no, it probably was not unfair to her.
   9     It would have been expected for her to be there.
 10                                I mean, they certainly didn't hold
 11      back on Stacy, if that's what you're asking.                                                      Oh,
 12      we're not going to say what we needed to say
 13      because Stacy was there.
 14                                It all came flying out.
 15                        Q.      Did you believe any of the
 16      allegations that were raised about Mr. Roman when
 17      they were initially raised?
 18                        A.      When they were initially raised?
 19      Yeah.           Yeah.
 20                                At first, I mean, it was, like,
 21      surprising.             And then, you know, there's --
 22      because there was, like, one person, two people,
 23      three people, it was like, well, you know --
 24      yeah, at first -- I think at first I doubted it.
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   1     Then I believed that -- and now I disbelieve, you
   2     know, just because of knowing what the nature of
   3     the complaints were and seeing the things made up
   4     about myself then, yeah.                       So I cast doubt on --
   5     on the complaints.
   6                       Q.     When you say the complaints -- and
   7     we ran into this at a few other depositions.                                                    I
   8     just want to be clear.
   9                              There are complaints as in a
 10      document that's filed on the docket with the
 11      Court and there are complaints that the women
 12      raised to Dr. Pipes.
 13                               So we're speaking about complaints
 14      in the colloquial sense.
 15                               When you say you saw the
 16      complaints that were raised against you, are you
 17      referring to a Court document or are you
 18      referring to statements that were made to Dr.
 19      Pipes?
 20                        A.     I'm referring to paperwork which
 21      was delivered to my home in New York City that --
 22      by a process server, like, this thick.                                           I don't
 23      remember exactly what they were.
 24                               But, I mean, it was like McNulty,
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   1     Barbounis, Yonchek or whatever or -- I don't
   2     think Marnie's was in there.
   3                              But the other complaints were
   4     there, saying that, you know, that -- that all
   5     these things took place.                        That I'm, you know, --
   6     many of which I have direct knowledge or would
   7     contradict and say that that's a lie or that
   8     that's not how it happened.
   9                              I was taken back by that.                                     I was,
 10      like, Facebook friends with everybody.
 11                               We were, you know, -- Katrina and
 12      Delaney wanted to rent my house even weeks after
 13      I had left.            They wanted to rent my home in
 14      Philadelphia when I moved to New York.
 15                               Tricia was a babysitter for my
 16      daughter for months.                    Baby-sat my newborn
 17      daughter.
 18                               Lisa's husband would, you know, --
 19      I went to her daughter's first birthday.                                               She
 20      came to my daughter's first birthday.                                           Not just
 21      her, but her husband and her kids.
 22                               Like, I mean, we were all best
 23      friends.
 24                               And then suddenly I get served
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   1     with paperwork saying that -- that I'm a horrible
   2     person who contributed to their harassment at an
   3     organization, even though they threw me a
   4     going-away party the day that I left, you know.
   5                              Matt, we love you so much.                                     Are we
   6     going to ever get -- what's it going to be here
   7     without you.           We're at Continental for cocktails.
   8     There's a picture of it with us all smiling at
   9     the table.
 10                               And then, who knows how many weeks
 11      later, I'm the enemy of the state.                                     They all
 12      unfriend me on Facebook.                       And then they name me
 13      in complaints.
 14                               So from my perspective, yeah, I
 15      cast doubt on the things that are written in that
 16      paperwork which I received.
 17                               And since then, have not wanted to
 18      even have one memory of the entire experience
 19      with them, and I apologize for saying this, but
 20      this deposition and they all are agonizing to
 21      recount all of these memories.
 22                        Q.     Sir, you're aware that you were
 23      not named -- well, let me actually ask you this.
 24                               Did you ever see the complaint
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   1     that was filed by Ms. O'Brien?
   2                       A.        No.
   3                       Q.        And are you aware that you were
   4     not named in that complaint?
   5                       A.        Well, I mean --
   6                                 MS. DiBANCA:                  Object to the form
   7                       of the question.
   8                                 If he didn't see it, he couldn't
   9                       say.
 10                                  THE DEPONENT:                    I assume if I
 11                        was --
 12      BY MS. SHIKUNOV:
 13                        Q.        Let me ask you the question this
 14      way.
 15                                  I will represent to you that you
 16      were not named in Ms. O'Brien's complaint,
 17      because I wrote it.
 18                        A.        Okay.
 19                        Q.        And you are being called here
 20      today strictly as a fact witness.
 21                                  Were you aware you were being
 22      called here today as a fact witness, meaning that
 23      you observed events that were relevant to the
 24      complaint?
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   1                              MS. DiBANCA:                  I'm just gonna
   2                       object to the question.                        You can go ahead
   3                       and answer.
   4                              THE DEPONENT:                    I mean, I
   5                       understand that I was called to give to
   6                       -- to be asked questions and to answer
   7                       them to the best of my ability of my
   8                       recollection of what happened in my time
   9                       at MEF.
 10      BY MS. SHIKUNOV:
 11                        Q.     Okay.          And so you're saying you
 12      initially believed the allegations against
 13      Mr. Roman.
 14                               But what has changed your mind is
 15      the fact that several women filed complaints that
 16      named you and you felt that the allegations about
 17      yourself were untrue, so you extrapolate that to
 18      mean that all the other allegations in the
 19      complaint are also untrue?
 20                        A.     Well, no, not because of that.
 21                               Yes, that contributes to it.                                         But,
 22      you know, like, most -- in my head, I always
 23      think, well, maybe, you know, like Marnie slept
 24      with Gregg but she doesn't actually want to say
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   1     it.
   2                                Or maybe something, like, more
   3     happened than was let on with Tricia or Lisa.                                                        Or
   4     that they said that happened, but they don't
   5     actually want to say that because it's
   6     embarrassing to them or something.
   7                                So in my head, I was thinking,
   8     like, maybe, you know, it's like a Law and Order
   9     episode, you know, whatever.
 10                                 But it came -- you know, when push
 11      came to shove, it was, like, that -- that nothing
 12      happened, I mean.
 13                                 To my knowledge, nothing happened
 14      that would -- which was written that said
 15      happened.              So, I mean, -- does that answer the
 16      question?
 17                        Q.       Kind of.
 18                                 But I'm gonna have to follow up
 19      based on something that you just threw out,
 20      because you just stating that this is the first
 21      time, I think, anybody has made that allegation
 22      or heard it.
 23                                 Do you have any knowledge that Ms.
 24      O'Brien and Mr. Roman had a sexual relationship?
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   1                       A.     No.
   2                       Q.     So can you clarify what you meant
   3     when you just stated that in your last answer?
   4                       A.     Because Marnie was on the --
   5     because at the New Year's Party, Marnie -- I
   6     mean, at the holiday party, and before that,
   7     Marnie is handing me glasses of champagne or
   8     beers saying, like, just imagine Gregg with Leah
   9     in Israel and imagine -- it seemed like she was
 10      like, -- like, she was Gregg's a predator.
 11                               Like she -- I felt as if, like,
 12      there was something else, like, she knew that --
 13      like she had direct knowledge of something and --
 14      and that's why.
 15                               I thought maybe something happened
 16      between them.            I mean, at the time that I was
 17      believing everything, I'm, like, well, Lisa and
 18      Tricia and whoever else are going to stay
 19      something's happened.
 20                               And if it did, then who's to say
 21      it didn't with Marnie.
 22                               So, yeah, that's why I said it.
 23      No, I don't have any knowledge or whatever --
 24      proof.
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   1                       Q.     Okay.          I'm going to ask you
   2     another question.
   3                              MS. SHIKUNOV:                    Before I do,
   4                       there's a 301 number on the line that is
   5                       not muted and I'm getting noise from it.
   6                              So I would ask either that number
   7                       mute themselves or, Alex, can you mute
   8                       them unilaterally?
   9     BY MS. SHIKUNOV:
 10                        Q.     So you testified that you
 11      initially believed these complaints.                                         And at some
 12      point in time you came to disbelieve them.
 13                               Do you recall specifically when it
 14      was that you started to question the allegations
 15      that were made?
 16                        A.     Probably -- oh, yeah.                               I can tell
 17      you straight.
 18                               Yeah, here's one, is when I called
 19      a meeting, myself, after Gregg was removed,
 20      probably in December.
 21                               My wife was at work.                              I took my
 22      two-year-old daughter, got into an Uber, came to
 23      the office, gathered everyone in the conference
 24      room and said, from this point forward, you're no
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   1     longer to communicate with Gregg.
   2                               If his phone calls and -- the
   3     nature of the work relationship that's been just
   4     put in place, which is he can't come to the
   5     office and he's only being -- corresponding with
   6     staff to complete the assignments that he still
   7     has, and I said that's no longer the case.
   8                               I'm going to now bear the brunt of
   9     dealing with Gregg around the clock and to be the
 10      pass-thru between him and every other message and
 11      for every message, phone call, e-mail and
 12      directive that comes to the Philadelphia office.
 13                                I said, goodbye.                        Took my daughter
 14      and I left the office.
 15                        Q.      Can I stop you for just one
 16      second, Mr. Bennett?
 17                                MS. SHIKUNOV:                    Somebody named
 18                        Matthew Mainen just joined the call, do
 19                        you know that is?
 20                                MS. DiBANCA:                  I do.            He's with
 21                        MEF.
 22                                MS. SHIKUNOV:                    Who is that?
 23                                MS. DiBANCA:                  I believe he is
 24                        their associate in-house counsel.                                       He's a
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   1                       lawyer.
   2                                 MS. SHIKUNOV:                    Okay.            Okay.            You
   3                       can continue your answer.
   4                                 MS. DiBANCA:                  I'm sorry.                   Matt, go
   5                       ahead.
   6                                 THE DEPONENT:                    Daniel called me,
   7                       said -- or, no, I messaged him in the
   8                       meeting -- no, first, I called Gregg.                                               I
   9                       said, I just want to let you know, you're
 10                        not to communicate with any single --
 11                        anyone in the office accept myself.
 12                                  Hung up the phone.
 13                                  Then I telegrammed Daniel, I
 14                        believe, and I said, I just want you to
 15                        know, I told everybody in the office
 16                        whatever and then I left.
 17                                  He called me while I was in the
 18                        Uber.     Eventually I connected with him.
 19                                  He said, why did you do that?                                           You
 20                        know, obviously I didn't authorize you or
 21                        permit you to do that.
 22                                  I think we spoke on the phone.                                            I
 23                        communicated that the women were still
 24                        complaining to me about Gregg -- about
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   1                       having to work with Gregg, about
   2                       contacting Gregg.
   3                              So Daniel said, oh, man, I guess,
   4                       get to the bottom of it myself.                                   He went
   5                       to each one of them individually and
   6                       said, do you have a problem with Gregg.
   7                       And they all said, no.
   8                              And he came back and he said, the
   9                       women said it's not them with a problem,
 10                        but it's, in fact, you have a problem
 11                        working with Gregg and you seem to have
 12                        this obsession with removing Gregg from
 13                        the office.         And then I said okay.
 14                               So the same women who told me that
 15                        I was a pussy and was to never be
 16                        trusted, because I didn't rise up and
 17                        drive a stake through Gregg's heart,
 18                        they're now the women telling you that
 19                        they're fine and that everything's okay
 20                        and that I'm a lunatic because I'm trying
 21                        to get rid of him so aggressively.
 22                               And like that, I knew that
 23                        something's obviously going on.
 24                        Something was obviously wrong.
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   1                                And I began searching for other
   2                       jobs.    Probably the same day.                                 Because I
   3                       realized then that not only was it
   4                       probably Marnie, who I had known was
   5                       undermining me, but probably the rest of
   6                       them.
   7                                And if they were -- and that's
   8                       fine.    If they're gonna be competitive
   9                       when you want to go head to head with
 10                        work product, then any day of the week.
 11                                 But if you're gonna do it by lying
 12                        and being two-faced, then, no.                                    I don't
 13                        want to work with anybody or be involved
 14                        in an office or an organization with
 15                        anybody, let alone everybody, who's gonna
 16                        do such a thing.
 17      BY MS. SHIKUNOV:
 18                        Q.       So that kind --
 19                        A.       When I say everybody, I'm
 20      referring specifically to Marnie, Lisa and Tricia
 21      who -- and not the younger girls who, I believe,
 22      were coerced.
 23                        Q.       So is it your testimony here today
 24      that you believe that Marnie advised Dr. Pipes
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   1     that she preferred to speak with Mr. Roman than
   2     have you be the conduit?
   3                       A.     I believe that he followed up on
   4     what I did, the meeting that I held.                                        I know she
   5     wasn't happy in the meeting.                             She had sat there
   6     with her, you know, arms crossed like this.
   7                              Like she was saying, oh, okay,
   8     guys, we finally don't have to work with Gregg
   9     anymore guys.            Look, Matt stepped up to do it.
 10      And I believe that, because I believe that she --
 11      she wanted to be that person, not me.
 12                               She saw that not because of my own
 13      actions, like my own desires to suddenly become
 14      director of the organization, but because they
 15      were prying me into it for months.
 16                               And there I was doing it and I
 17      think that that was the opposite of, you know,
 18      her desire or plan to become the eventual point
 19      person, director, whatever you want to call the
 20      leader of the Philadelphia office.
 21                        Q.     Do you recall having a
 22      conversation with Dr. Pipes about this situation
 23      by telegram?
 24                        A.     About this situation?
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   1                       Q.     Yes, about this situation, about
   2     you being the conduit between the women and
   3     Gregg?
   4                       A.     Like as a result of this -- of the
   5     meeting that I called?
   6                       Q.     Correct.
   7                       A.     Yeah, I mess -- I believe I
   8     messaged him from the meeting in a telegram.                                                    I
   9     said, I just want to let you know I did this.
 10                        Q.     And do you recall sending that
 11      message around January 25, 2019?
 12                        A.     Yeah, that make -- that makes
 13      sense, yeah.
 14                        Q.     And messaging him saying, I just
 15      instructed -- at 11:18 a.m., I just instructed
 16      the office staff that all communications with
 17      Gregg are to go through me and they are not to
 18      respond to him, unless I authorize it.
 19                               I'm available for Gregg 24/7, but
 20      I will not have him undermining me and inserting
 21      himself in what I am doing.
 22                        A.     Yeah.
 23                        Q.     Okay.
 24                        A.     I mean, if you have the message,
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   1     that's what it I said.
   2                       Q.     And immediately at 11:22 a.m., Dr.
   3     Pipes texts you back saying please call me.
   4                              Ten minutes later, approximately
   5     11:36, please call.
   6                              Do you recall getting those
   7     telegram messages?
   8                       A.     Yeah.         I was in the Uber and I
   9     wasn't going to have that conversation in an Uber
 10      with a two-year-old in the car.
 11                               So I waited until I got home.
 12      Then I tried to put her to sleep, so that I
 13      could, you know, talk to him and then talk about
 14      it.
 15                               Obviously I could tell he was
 16      upset about it, so...
 17                        Q.     So it's your belief that sometime
 18      between 11:18 and 11:22 that all of the women in
 19      the office conspired against you and undermined
 20      you to Dr. Pipes after that meeting?
 21                        A.     No.       Certainly not.
 22                               But -- what, in three minutes?
 23      No.        It would take Marnie a lot more time than
 24      that to weave a narrative that -- of whatever
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   1     they're saying.
   2                                 Or if that's what they naturally
   3     believed, that Matt was so crazy that he is the
   4     one who wanted Gregg removed, that everything was
   5     fine and that I was -- I was the problem, then I
   6     don't think they came up with it in those three
   7     minutes.               I think that it was much more long term
   8     than that.
   9                       Q.        Well, you just testified that you
 10      had the meeting and you sent that telegram
 11      message to Dr. Pipes directly after the meeting.
 12                        A.        Uh-huh.
 13                        Q.        And you're saying sometime between
 14      the meeting and the time that you spoke with Dr.
 15      Pipes, the women intervened and all said you were
 16      crazy and had no idea what you were talking
 17      about.
 18                                  So --
 19                        A.        No.        You asked me when did I
 20      know --
 21                        Q.        Let me finish the question.
 22                                  I'm curious as to when you believe
 23      that would have happened, given the fact that
 24      there's approximately three minutes between when
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   1     you texted Dr. Pipes and he asked for you to call
   2     him immediately.
   3                                MS. DiBANCA:                  And I'm just gonna
   4                       object to the form of the question.
   5                                And, Matt, you can go ahead and
   6                       answer.
   7                                THE DEPONENT:                    If I remember the
   8                       last five minutes correctly, you had
   9                       asked me when did I know.                             And then I
 10                        told you when I called this meeting,
 11                        following that -- following those
 12                        actions, I believe that no one had my
 13                        back in the office or no one wanted me to
 14                        manage them or lead the organization.
 15                                 And then I began looking for other
 16                        jobs.    And that's when I began to
 17                        disbelieve the stories of the women.                                             It
 18                        was at that time.
 19                                 Because if they were harassed, if
 20                        they were bothered, if they were enduring
 21                        psychological and whatever else they
 22                        said, why wouldn't they tell Daniel then,
 23                        yes, we wanted Matt to do that.                                     Yes, we
 24                        want Gregg gone.                We don't want to talk
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   1                       to him and communicate with him anymore.
   2     BY MS. SHIKUNOV:
   3                       Q.        Sir, do you have any direct
   4     knowledge of Mr. Marnie calling Dr. Pipes or
   5     communicating with Dr. Pipes that she preferred
   6     to communicate with Mr. Roman directly rather
   7     than have you do it for her?
   8                       A.        Do I have any direct knowledge of
   9     it?        No.         Daniel -- other than --
 10                        Q.        I'm sorry.                Wait.            Wait.           I was
 11      asking you a follow-up question.                                       We can't talk
 12      at the same time for Joyce's sake.
 13                                  So my question to you is, is this
 14      just a suspicion of yours?
 15                        A.        No.        When Daniel went to discover
 16      why I did that, he said, they don't seem to have
 17      an issue with him.
 18                                  FYI, like -- and I believe he went
 19      to them and asked them, you know.
 20                                  You have to ask them.                               But, no, I
 21      don't have any, you know, direct knowledge of
 22      Marnie or anybody other than I believe he went to
 23      their offices.                That's the way he would have done
 24      it.        Knocked on the door, walked in and said --
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   1     or telegrammed with them and asked.
   2                       Q.     With regard to these telegrams,
   3     you continued to exchange telegrams with Dr.
   4     Pipes after he asked you to call him, like you
   5     said, because you were trying to put your
   6     daughter down for a nap, correct?
   7                       A.     That's what I remember, yeah.
   8                       Q.     Okay.         And at 12:55 p.m., you
   9     asked him, are you upset with me?                                    He replied
 10      instantly, stating, very.                         You said, okay.
 11                               He said, in brief, show me does
 12      not mean grab power.                   It means do hard work.                                   I'm
 13      waiting impatiently to talk on phone or in
 14      person.
 15                               And you replied at 1, that's how
 16      you see my trying to protect the office from
 17      Gregg as a telegraph.                    And he replied back, call
 18      me.
 19                               Did I -- do you have any other
 20      recollection of that conversation other than what
 21      I just reviewed with you?
 22                        A.     No.       Definitely not.
 23                               But, I mean, I remember realizing
 24      later that was, like, -- I was in a bad point in
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   1     my life.
   2                                I was being, like, direct with my
   3     supervisor, so to speak.                          And I was speaking --
   4     you know, more, like, off the cuff than I should
   5     have been.             But, no, hearing you reading it back
   6     now, no, I don't remember.
   7                       Q.       Okay.
   8                       A.       Hearing you read it, I do
   9     remember.              But I don't remember what came next or
 10      what came before, if that's what you're asking.
 11                        Q.       Okay.          And, sir, are you aware of
 12      the fact that anytime Marnie was asked to
 13      communicate with Gregg or work with Gregg
 14      directly, she complained about having to do that
 15      to Dr. Pipes?
 16                                 MS. DiBANCA:                  And I'll object to
 17                        the form of the question.
 18                                 You can go ahead and answer what
 19                        you know.
 20                                 THE DEPONENT:                    I didn't even hear
 21                        the question.             You said, are you aware --
 22      BY MS. SHIKUNOV:
 23                        Q.       My question to you is, are you
 24      aware that any time Marnie was directed to work
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   1     with Mr. Roman, she lodged a complaint about
   2     having to communicate with him or work with him
   3     directly to Dr. Pipes?
   4                                  MS. DiBANCA:                  Objection stands.
   5                       You can go ahead and answer.
   6                                  THE DEPONENT:                    No, I'm not aware.
   7                                  She complained to me, but I wasn't
   8                       aware of any formal complaints that she
   9                       was making.
 10      BY MS. SHIKUNOV:
 11                        Q.         So you just said she complained to
 12      you about having to work with Gregg.
 13                                   You have to say yes for the
 14      record.                You can't nod your head.
 15                                   MS. DiBANCA:                  I'm going to object
 16                        to the form, because that's not exactly
 17                        what he said.               But go ahead.
 18                                   Is there a question --
 19                                   THE DEPONENT:                    It you wasn't like
 20                        Marnie -- sorry.
 21                                   So if the question is, did Marnie
 22                        complain to me?                 No.         But like she's mad,
 23                        I'd like to make a complaint that I'm
 24                        being made to work with Gregg.
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   1                              It was like, I just changed the
   2                       password on the security system to bump
   3                       Gregg or something like that.                                 You know,
   4                       things like that that she believed that
   5                       Gregg still had -- she didn't like that
   6                       she still had a hand in her work.
   7                              And, yeah.                Does that answer the
   8                       question?
   9     BY MS. SHIKUNOV:
 10                        Q.     It does.             It does.
 11                        A.     She didn't make a complaint to me.
 12                        Q.     And it's your belief that rather
 13      than have somebody operate as a conduit between
 14      her and Mr. Roman so she didn't have to
 15      communicate to him, she undermined you to Dr.
 16      Pipes so that she could have the authority of
 17      communicating with Mr. Roman rather than
 18      yourself?
 19                        A.     I think she wanted Gregg gone.
 20      And I think she was happy to have me gone, too.
 21      I don't think she wanted to be a conduit to
 22      anything.
 23                               I think she wanted complete and
 24      total control of the staff.                            I think that's how
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   1     she manages her children.                            I think that's her
   2     personality.             I think that's just who she is.
   3                                And if you want to be competitive
   4     and aggressive, then fine.
   5                                Then I don't think there was any
   6     -- it had nothing to do with -- it had nothing to
   7     do with Gregg.
   8                                She's more than capable of
   9     standing her ground and fighting for herself
 10      physically and verbally.
 11                                 No, she wanted it.                           She wanted --
 12      she wanted to be the top person in the office.
 13      She wanted more money.                        She wanted more
 14      authority.             That's it.             That's the way I see it.
 15                        Q.       Why do you say that she's capable
 16      of defending herself physically?
 17                        A.       She's -- she told me before, like,
 18      I don't know, she's like weight training,
 19      marathon runner.
 20                        Q.       So you're making an observation of
 21      her general fitness?
 22                        A.       Not her general fitness.                                   But just
 23      her general, like, -- I think she's, like, a
 24      scrapper.              I believe, like a scrapper.                                  And
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   1     that's how they came to heads.                                That's why they
   2     disliked each other so much.
   3                             They were both this combative
   4     personality that doesn't back down and that
   5     stands their ground.                   And that's who they are.
   6                             Two Alpha males and I don't think
   7     Marnie is afraid of anything and neither is Lisa.
   8                       Q.    Sir, you, yourself, were vying for
   9     the director role after Mr. Roman was removed
 10      from office, correct?
 11                        A.    No, I wasn't vying -- I wasn't
 12      vying for it until, I guess, the time came and
 13      then I started thinking about the direction of
 14      the organization, whatever date that may be.
 15                              But I saw it as the opportunity to
 16      implement things, like, -- like migrating from
 17      Microsoft to Google, which I was, like, a
 18      proponent of, that Gregg didn't want to do.
 19                              So, you know, I started to see the
 20      opportunity to go directly to Daniel with those
 21      ideas.
 22                        Q.    I want to stop you right there,
 23      because you're starting to get into specific
 24      ideas, which I don't think anybody needs for the
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   1     purposes of today.
   2                       A.     Sorry.
   3                       Q.     So my question to you is, were you
   4     vying for role of director after Gregg was
   5     removed from the office?
   6                              MS. DiBANCA:                  I'll object as asked
   7                       and answered, but you can go ahead and
   8                       answer the again.
   9                              THE DEPONENT:                    Can you be more
 10                        specific?       Was I vying?
 11                               Do you mean, like, was I competing
 12                        for control, do you know what I mean?
 13                               Like competing for role of
 14                        director?
 15      BY MS. SHIKUNOV:
 16                        Q.     I'll put it to you simply.
 17                               Do you recall exchanging telegram
 18      messages or communications with Dr. Pipes asking
 19      to be instated as director and arguing with him
 20      when he declined to give you the position?
 21                        A.     Yeah, definitely.                          I don't
 22      remember what I said.                     But I said, why would --
 23      you know, what's the -- you know, why won't you
 24      make me just director?                      What's the issue?
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   1                       Q.    Okay.          You mentioned, and we
   2     danced around it, and I didn't really get -- I
   3     want to kind of put an end cap on it.
   4                             So other than -- you said that --
   5     I'm trying to figure out how to ask this in a
   6     concise way so you just don't ask me to repeat
   7     the question.           So bear with me first.
   8                             So you had testified probably 10
   9     or 15 minutes ago that you started to disbelieve
 10      the claims that were made by the women at the
 11      point in time that you offered to be a conduit
 12      between them and Gregg.                      And you were under the
 13      impression that they said that they did not need
 14      or want that.
 15                              Other than that understanding, was
 16      there anything else or was -- did anything else
 17      occur that caused you to start to disbelieve the
 18      women?
 19                        A.    Well, other than what we had
 20      already mentioned, which was the receiving the --
 21      I don't know what they're called, what the
 22      official name is, the paperwork from the process
 23      server, which was -- which was later on -- and
 24      then through discovery of all that, yeah, like --
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   1     so, yes, it definitely does, after I left the
   2     organization.
   3                             I'm already with a new
   4     organization and received that.                                 And especially
   5     when, you know, I was called for my last
   6     deposition, then I had to -- you know, to ask
   7     what is going on.
   8                             And then Mr. Seth or Mr. Carlton,
   9     whatever his name is, asking me like, you know,
 10      lots of ridiculous questions and I'm telling him
 11      it's just not how it went down.
 12                              So, you know, especially between
 13      then and now, thinking that -- about that is,
 14      like, -- it seemed like he genuinely believed,
 15      and I believe you, too, of the story that they're
 16      telling you.
 17                              And I'm just trying to answer --
 18      you know, provide answers to questions that shed
 19      light from a different narrative, from a
 20      different perspective, because it's the right
 21      thing to do.
 22                              I don't know.
 23                        Q.    Between the time that you left the
 24      Middle East Forum in late February, early March
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   1     of 2019, and when you were served with the
   2     paperwork you were just referencing, did you
   3     remain in contact with anybody from the Forum
   4     other than Mr. Roman?
   5                              MS. DiBANCA:                  I believe he did
   6                       answer that, but you can go ahead and
   7                       answer it again.
   8                              THE DEPONENT:                    No.         There was up
   9                       until -- so I left on March the 8th.                                           And
 10                        I exchanged text messages with Katrina,
 11                        Delaney, Lisa, Tricia.
 12                               So Katrina and Delaney, we
 13                        exchanged messages that they wanted to
 14                        rent my house.
 15                               Lisa and me exchanged messages
 16                        that she asked me how is ZOA going, do
 17                        they need anybody yet, meaning can I give
 18                        her a job.
 19                               Same with Tricia.                          How's it going?
 20                        She said Katrina had found another job
 21                        and that she had a lot of work on her.
 22                        She'd love to talk about coming to work
 23                        for me at Zoa.
 24                               Thelma just out of being a very
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   1                       loveable woman checked in, hey, Matt,
   2                       just wanted to see how you're doing.                                           Are
   3                       you okay, blah, blah, blah.
   4                              And I believe that's it.
   5                              Those were my -- extent of my
   6                       communications of everybody until one day
   7                       I suddenly realized that they weren't
   8                       friends with me on Facebook anymore and,
   9                       et cetera.
 10      BY MS. SHIKUNOV:
 11                        Q.     When do you think the
 12      communication with the other women died off?
 13                        A.     Not long after I started my new
 14      role there.            So probably 30 to 60 days after
 15      March the 9th.
 16                        Q.     And did you have any further
 17      communication with Marnie after you separated
 18      from employment?
 19                        A.     No.
 20                        Q.     Okay.
 21                        A.     No.
 22                        Q.     I want to ask you specifically
 23      about some telegram messages that were exchanged
 24      between you and Dr. Pipes on December 26, 2018.
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   1                              You had sent him a message at
   2     17:27.            So I believe that's 5:27 military time.
   3     You subtract the 12.                    Saying, are you aware that
   4     Gregg called me yesterday?
   5                              He indicated that he wasn't.                                         And
   6     you reported to him that Gregg told you he was
   7     being asked to investigate Marnie and that you
   8     should not tell Dr. Pipes he had told you about
   9     it.
 10                               Do you recall having a
 11      conversation with Mr. Roman wherein he informed
 12      you he was being asked to investigate Marnie?
 13                        A.     I don't even remember that
 14      message.
 15                               Can I see it?
 16                        Q.     I can pull it up, but if you don't
 17      have any recollection of it for me just reading
 18      it to you and you're not gonna be able to answer
 19      questions about it, I'm not sure the fruitfulness
 20      of that exercise.
 21                               MS. SHIKUNOV:                    But, Alex, do you
 22                        want to pull those text messages up on
 23                        the screen for me?
 24                               MS. DiBANCA:                  Erica, may I
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   1                       interject?
   2                              MS. SHIKUNOV:                    Sure.
   3                              MS. DiBANCA:                  So, Matt, if you
   4                       don't have a recollection of it, it's
   5                       fine to say you don't.
   6                              If you would prefer to see the
   7                       messages to confirm that you don't -- if
   8                       that is the case to confirm you don't
   9                       have a recollection, that's also fine.
 10                               THE DEPONENT:                    Yeah, I mean, it
 11                        was the worst year of my life.                                  I'm sure
 12                        I said a lot of things to Daniel.                                      And I
 13                        don't remember really any of them,
 14                        especially during that period of time.
 15                               And I certainly don't remember
 16                        saying that.          But if they're there, I'm
 17                        sure they're there, along with lots of
 18                        other stuff that --
 19      BY MS. SHIKUNOV:
 20                        Q.     To give a brief summary, you're
 21      saying you don't dispute that you sent that, but
 22      you don't have any recollection of it now.                                                  And
 23      you don't know what you were talking about.
 24                               Is that fair?
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   1                       A.     No, I mean -- I mean, it doesn't
   2     sound like it was something that I would say
   3     or -- naturally.
   4                              But if you're telling me that you
   5     have it written down somewhere and that
   6     there's -- it's time stamped and you received it
   7     from Daniel, because we didn't -- because that's
   8     the only person who could give it to you, then
   9     I'm guessing that the message exists.
 10                               But, I mean, I have to see, like,
 11      the context before and after and understand what
 12      was being talked about that there was an
 13      investigation or whatever.
 14                        Q.     You wrote, you said he was being
 15      asked to investigate Marnie.                              And I shouldn't
 16      tell you what he was telling me.                                    Pipes says,
 17      what?           You say, exactly.               Pipes said, asked by
 18      whom.           And you said, so I cleaned out my office,
 19      Daniel.
 20                               Dr. Pipes, by whom?                            Unless you
 21      and I are on the same page, I cannot go on --
 22                               MS. DiBANCA:                  We're going to need
 23                        to see it.        It's too much to read.
 24                               MS. SHIKUNOV:                    Okay.            I can pull
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   1                       it up.
   2                                 THE DEPONENT:                    And what was the
   3                       date?     It's okay if you just tell me what
   4                       was the date.
   5     BY MS. SHIKUNOV:
   6                       Q.        It's December 26, 2018.                                  And I'm
   7     just trying to figure out what you recall about
   8     that message.
   9                                 So give me just a second here.
 10      And for the record, I'm gonna be referring to
 11      text messages starting at D0006058.
 12                                  MS. DiBANCA:                  It's not text
 13                        messages right, Erica?
 14                                  MS. SHIKUNOV:                    I'm sorry.                   It's
 15                        telegram.          I am not the most
 16                        technologically intelligent person.                                            So
 17                        to me they're all text messages.
 18                                  MS. DiBANCA:                  And technically they
 19                        are.    They are texts and they're
 20                        messages, so --
 21                                  THE DEPONENT:                    Ninety-five pages
 22                        of telegram messages?
 23      BY MS. SHIKUNOV:
 24                        Q.        There's quite a lot here, sir,
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   1     which is why I was trying to avoid having to pull
   2     it up for you.
   3                       A.       Yeah.          Well, let it be a lesson of
   4     now not to communicate with your boss.
   5                       Q.       Okay.          So I am starting at 17:27
   6     here.
   7                                Do you see where my cursor is
   8     hovering?
   9                       A.       Yep.
 10                        Q.       Are you aware that Gregg called me
 11      yesterday?
 12                                 So go ahead and read along to the
 13      bottom of this page and I will scroll when you're
 14      ready.
 15                                 MS. DiBANCA:                  Just for the record,
 16                        can you tell me what date this is?                                          I'm
 17                        sure it's up there somewhere and I'm just
 18                        going to rely on whatever you say.
 19                                 MS. SHIKUNOV:                    It's December 26,
 20                        2018.
 21                                 I'm gonna pull it up and give you
 22                        that page.
 23                                 MS. DiBANCA:                  Okay.
 24                                 MS. SHIKUNOV:                    I'm gonna have to
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   1                       scroll through like three pages.
   2                              MS. DiBANCA:                  That's what I am --
   3                              THE DEPONENT:                    Can I see the top
   4                       of the page?
   5     BY MS. SHIKUNOV:
   6                       Q.     Sure.
   7                              I'm sorry, I shouldn't have
   8     scrolled yet.            Were you ready for me to scroll?
   9                       A.     Yeah.          Yeah.          Go ahead.
 10                        Q.     Okay.
 11                        A.     Yeah, I think -- I mean, it's
 12      okay.           I cleaned out my office.
 13                               I thought that guy Jakob was
 14      being -- was gonna come in as the new director of
 15      the organization at that point.                                  And I had
 16      respect for his credentials and, you know,
 17      he's -- you know -- I don't know.                                     What's your
 18      question?
 19                        Q.     I was gonna say, I didn't ask you
 20      a question, but --
 21                        A.     Oh, okay.              Yeah.
 22                        Q.     My first question to you is what
 23      you recall about the phone call wherein Mr. Roman
 24      informed you that he was investigating Ms.
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   1     O'Brien?
   2                              MS. DiBANCA:                  Could you just
   3                       scroll up, Marnie -- Erica?                              I called you
   4                       Marnie.     Just so we're -- perfect.
   5                       Thanks.     There we go.                  Yep, 17:29.
   6                              MS. SHIKUNOV:                    Yes.
   7                              THE DEPONENT:                    Look, I wasn't on
   8                       terms with Gregg that he would be
   9                       asking -- that he would be telling me if
 10                        he was doing something.
 11                               My only -- I can only believe that
 12                        I said this because she believes that he
 13                        was watching her.
 14                               She believed that the cameras and
 15                        the internal -- there was an internal
 16                        vestibule camera and that passwords on
 17                        her computer that he could monitor or he
 18                        could turn on the camera on her computer.
 19                        And she was changing all the passwords
 20                        and she believed that Gregg was looking
 21                        into her work or something like that.
 22                               And if I said this, I was trying
 23                        to figure out if that's the case.                                      And
 24                        I'm bluffing with Daniel to see if it is
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   1                       the case.
   2                              The main thing is Jakob, is
   3                       because I met Jakob.                    I believe he was a
   4                       very smart person.
   5                              So at that time, it was -- things
   6                       were unraveling.              Yeah, I forgot about
   7                       the Jakob.
   8     BY MS. SHIKUNOV:
   9                       Q.     So is it your testimony here today
 10      that you fabricated this conversation with
 11      Mr. Roman?
 12                        A.     I don't remember -- I mean, you're
 13      asking me did I remember Gregg telling me that?
 14      I don't.
 15                        Q.     Well, you just stated that you
 16      were bluffing.
 17                               So were you bluffing or do you
 18      just not recall if you had a conversation?
 19                               MS. DiBANCA:                  I'm gonna object.
 20                        He did use the word bluffing, but I don't
 21                        recall that he said he was bluffing.
 22                               MS. SHIKUNOV:                    Your objection is
 23                        noted for the record.
 24

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   1     BY MS. SHIKUNOV:
   2                       Q.        But, Matt, you started to answer
   3     when she made the objection.                                 So can you repeat
   4     your answer?
   5                       A.        To answer, I don't recall having
   6     the conversation with Gregg.
   7                                 If the message is there, I
   8     obviously said it.                     And the best reason that I
   9     could think that I said it was because Marnie
 10      wanted to know if Gregg was -- had a way to spy
 11      on her, or whatever, which I was almost certain
 12      he wasn't.
 13                                  He couldn't just because of my
 14      tech stuff and I understood how it worked.
 15                                  MS. SHIKUNOV:                    Alex, we're done
 16                        with this.           Thank you so much for pulling
 17                        it up.
 18                                  I only have a few more questions
 19                        for you.         Okay?
 20                                  THE DEPONENT:                    Okay.
 21      BY MS. SHIKUNOV:
 22                        Q.        So I -- there was some discussion
 23      in this case about a rumor that Ms. O'Brien had
 24      slept with Katrina Brady's father.
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   1                               And there are some e-mails here
   2     that you had a conversation with, I believe, Pat
   3     McNulty and Lisa Barbounis after your separation
   4     from the Forum.
   5                               Do you recall having a discussion
   6     about this rumor with either Pat McNulty or Lisa
   7     Barbounis after you separated from the Forum?
   8                       A.      Yeah.          As I knew something was
   9     wrong then.            Tricia called me randomly and said,
 10      do you remember when you told us that Marnie
 11      slept with Katrina's dad?                           And I said, Matt never
 12      told you anything.                   I said, if either --
 13                        Q.      When you say Matt never told you
 14      anything, sir, are you referring yourself in the
 15      third person?
 16                        A.      I'm referring to myself.                                   I
 17      certainly didn't invent some scenario where I'm
 18      saying that Marnie slept with Katrina's dad.
 19                                And my best guess of where that
 20      came from is Lisa said Marnie probably fucked
 21      Katrina's dad and -- or something to get the job
 22      or something like that.
 23                                But I -- Katrina was my intern.                                             I
 24      hired her.             I trained her.                 I taught her
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   1     everything I knew.
   2                             And for her to believe that I'm
   3     gonna spread a rumor in the office -- that was
   4     one of the most hurtful things of all, of all of
   5     this ridiculous paperwork that I was served to
   6     think that, yeah, I'm starting a rumor in the
   7     office to malign a girl who I trained, helped her
   8     write and tried to get articles published, was
   9     going to let her live in my house, went out to
 10      eat with her and her fiance, introduce her to my
 11      wife and my kid and then I'm gonna spread rumors
 12      about her dad, who led one of our -- who led the
 13      NATO parliamentary assembly through Center City,
 14      Philadelphia, giving a historical tour.                                            And
 15      that -- and Tricia's calling me on the phone, do
 16      you remember when you told us that you spread the
 17      rum -- or you said that?                       And I said, no, I don't
 18      remember telling you that.
 19                              So that's the conversation you're
 20      referring to.
 21                        Q.    Okay.          Is that the only
 22      conversation that you had about that after your
 23      separation?
 24                        A.    About Katrina?                     About the rumor?
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   1                       Q.    Yes.
   2                       A.    I believe so.
   3                             That's the only one I can recall,
   4     because I thought it was so ridiculous that -- I
   5     could tell it wasn't -- it's not how she talked.
   6     It's not how she would have asked me a question
   7     like that.
   8                       Q.    Sir, you left the Middle East
   9     Forum to go work for the Zionist Organization of
 10      America, correct?
 11                        A.    Correct.
 12                        Q.    Do you still work there?
 13                        A.    No.
 14                        Q.    Okay.          When did you leave that
 15      position?
 16                        A.    I applied for a job in October or
 17      November of 2019 and began in the new
 18      organization -- yeah, I resigned in November.
 19                              I worked for another three weeks
 20      and then I accepted another role with another
 21      non-profit organization.
 22                        Q.    What non-profit are you with now?
 23                        A.    The American Friends of Tel Aviv
 24      Foundation.
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   1                       Q.     So since working at the Middle
   2     East Forum, you have proceeded to work with two
   3     other Zionist non-profits, correct?
   4                              MS. DiBANCA:                  Object to the form
   5                       of the question.              You can answer.
   6                              THE DEPONENT:                    ZOA is definitely a
   7                       Zionist organization.
   8                              The organization I'm with now is a
   9                       left-of-center organization.
 10                               Zionism isn't really in the
 11                        mission station.              But, yeah, they're
 12                        pro-Israel.         If you want to call it a
 13                        non-profit organization, yes.
 14      BY MS. SHIKUNOV:
 15                        Q.     Okay.          And in my vernacular, when
 16      I say Zionist, I refer to it as being pro-Israel.
 17      So I think we're saying the same thing.
 18                               Do you still -- when you were at
 19      the Zionist Organization of America, were you
 20      performing fundraising in that organization?
 21                        A.     Yes.         I was the director of the --
 22      National Director of Development.
 23                        Q.     And your current organization, do
 24      you also do fundraising in your capacity at that
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   1     organization?
   2                       A.      Yeah.          It's part of it.                          But I'm
   3     the lead executive.                    I run the organization.
   4                       Q.      Okay.          When you left the Middle
   5     East Forum, you were permitted to take your
   6     laptop with you, correct, your device?
   7                       A.      Yes.
   8                       Q.      Were you asked to have the laptop
   9     wiped or to do anything to return any proprietary
 10      information that was on the laptop back to the
 11      Forum?
 12                        A.      Was I asked?
 13                        Q.      Correct.
 14                        A.      I was the one who would be doing
 15      the asking at that point in March of, et cetera.
 16                                So I systematically wiped
 17      everything.            And then one-by-one sent e-mail
 18      messages to Marnie and Daniel with the password
 19      saying, I am no longer in the administrative or
 20      SalesForce, I deleted it and removed my user
 21      account.
 22                                I no longer have access to
 23      mailchimp.             I removed my user account.
 24                                This is the new admin password, et
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   1     cetera.
   2                             So I systematically, like, wiped
   3     myself and then handed over all of the admin
   4     credentials to Marnie and became the -- the
   5     person managing the relationship with the IT
   6     vendor that I was having migrate us to Google.
   7                       Q.    Did you purchase the laptop or was
   8     it given to you?
   9                       A.    I physically went to Apple to pick
 10      them up.
 11                        Q.    I'm sorry.                That was a bad
 12      question.
 13                              Upon leaving, did you purchase the
 14      laptop from MEF or was it given to you?
 15                        A.    I think they agreed to, like, work
 16      it off, so to speak, if I stayed and then
 17      conducted the employee trainings and tutorials.
 18      And, like, up -- work until my last day before
 19      starting in my new role.
 20                              Then -- yeah, I believe there was,
 21      like, an amount that -- that was, like, factored
 22      into my -- you know, my last paycheck or
 23      something like that.
 24                        Q.    Okay.
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   1                              MS. SHIKUNOV:                    I don't have any
   2                       further questions.
   3                              MS. DiBANCA:                  I don't have any
   4                       questions.
   5                              MS. SHIKUNOV:                    All right.                   You are
   6                       off the hook, Mr. Bennett.                            Thank you
   7                       very much for your time this morning.
   8                              THE VIDEOGRAPHER:                          Off the record.
   9                       The time is 11:28 a.m. Eastern.
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   1                                          CERTIFICATE
   2                                          I, MATTHEW BENNETT, do hereby
   3     certify that I have read the foregoing deposition
   4     given by me on January 12, 2021, and I certify it
   5     to be a true and correct transcript of my said
   6     deposition.            In the event that I desire to make
   7     changes in the form or substance of my
   8     deposition, said changes will be listed below,
   9     along with my reasons for making them.
 10      PAGE          LINE      CHANGE AND REASON FOR MAKING CHANGE
 11      ____ ____              _____________________________________
 12      ____ ____              _____________________________________
 13      ____ ____              _____________________________________
 14      ____ ____              _____________________________________
 15      ____ ____              _____________________________________
 16      ____ ____              _____________________________________
 17      ____ ____              _____________________________________
 18      ____ ____              _____________________________________
 19      ____ ____              _____________________________________
 20      ____ ____              _____________________________________
 21      ____ ____              _____________________________________
 22      ________________________
         MATTHEW BENNETT
 23

 24      Sworn and subscribed to before me this ______
         day of _____________________, 2021.
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   1     COUNTY OF LANCASTER         :
                                     : SS
   2     COMMONWEALTH OF PENNSYLVANIA:
   3                            I, Joyce A. Wise, RMR, Court Reporter
   4     and Notary Public, do hereby certify that MATTHEW
   5     BENNETT, the witness, personally appeared before
   6     me, being first duly sworn or affirmed to testify
   7     to the truth, the whole truth, and nothing but
   8     the truth, in answer to the oral questions
   9     propounded to him by the attorneys for the
 10      respective parties, testified as set forth in the
 11      foregoing deposition.
 12                             I further certify that before taking of
 13      said deposition, the above witness was duly sworn
 14      or affirmed, that the questions and answers were
 15      taken down stenographically by the said Joyce A.
 16      Wise, RMR, approved and agreed to, and afterwards
 17      reduced to print by means of computer-aided
 18      transcription under the direction of the
 19      aforesaid Reporter.
 20                             In testimony whereof, I have hereunto
 21      subscribed my hand this 13th day of January 2021.
 22

 23

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 board (1)                      caveat (1)                coming (7)                       control (4)
 bolster (1)                    Center (1)                comment (3)                      conversation (14)
 bonuses (1)                    certain (3)               comments (3)                     conversations (1)
 books (2)                      Certainly (6)             COMMONWEALTH                     coordinate (1)
 boost (1)                      CERTIFICATE (1)            (1)                             cordial (1)
 borderline (1)                 certify (4)               communicate (9)                  Correct (20)
 boss (1)                       cetera (6)                communicated (3)                 correctly (1)
 bothered (1)                   champagne (1)             communicating (2)                corresponding (1)
 bottom (2)                     chance (1)                communication (2)                Counsel (8)
 Brady's (1)                    change (5)                Communications (6)               Counterclaim (2)
 brain (1)                      changed (3)               communications-                  COUNTY (1)
 break (2)                      changes (2)               related (1)                      couple (1)
 breakdown (1)                  changing (1)              compared (1)                     course (1)
 brief (2)                      characterize (1)          compensate (1)                   Court (10)
 bring (2)                      checked (1)               competing (2)                    co-workers (1)
 bringing (1)                   Chestnut (2)              competitive (2)                  crazy (2)
 Brockman (1)                   chewed (1)                complain (1)                     creating (1)
 brunt (1)                      childhood (1)             complained (3)                   credentials (3)
 buddy (2)                      children (1)              complaining (2)                  crossed (2)
 buffet (1)                     Christmas (1)             complaint (11)                   crying (1)
 building (2)                   circulated (1)            complaints (17)                  cuff (1)
 Bumble (1)                     circumstances (1)         complete (3)                     curious (1)
 bump (1)                       City (3)                  compromising (1)                 current (2)
 business (3)                   claims (1)                computer (2)                     cursive (1)
                                clarify (2)               computer-aided (1)               cursor (1)
 <C>                            CLARK (1)                 concerns (1)                     cut (3)
 call (11)                      classify (1)              concise (1)
 called (18)                    cleaned (2)               condition (1)                    <D>
 calling (2)                    clear (5)                 conducted (1)                    D.C (2)
 calls (1)                      clock (2)                 conduit (5)                      D0006058 (1)


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 dad (4)                        deteriorating (2)          drinking (1)                     Everest (2)
 D'Ambra (1)                    deterioration (1)          drinks (1)                       everybody (25)
 danced (1)                     detract (1)                drive (9)                        everyday (1)
 DANIEL (27)                    Development (8)            driving (1)                      everything's (1)
 database (4)                   device (1)                 dropped (1)                      evident (2)
 date (9)                       DiBANCA (31)               drove (1)                        exact (2)
 DATE/TIME (1)                  DiBianca (1)               dual (1)                         exactly (6)
 dating (5)                     died (1)                   duly (3)                         EXAMINATION (2)
 daughter (6)                   different (5)                                               example (2)
 daughter's (2)                 difficult (2)              <E>                              examples (3)
 day (27)                       diligent (1)               early (3)                        exchange (1)
 days (4)                       diminish (1)               East (7)                         exchanged (4)
 day-to-day (3)                 direct (7)                 EASTERN (7)                      exchanging (1)
 DC (1)                         directed (1)               eat (2)                          execute (2)
 DE (1)                         direction (2)              eating (2)                       executive (3)
 dealing (2)                    directive (1)              EBERT (1)                        exercise (3)
 debatable (1)                  directly (9)               effectively (1)                  ex-husband (1)
 December (4)                   Director (30)              efforts (1)                      existed (1)
 declined (2)                   dirt (1)                   either (8)                       exists (1)
 decorated (1)                  dirty (1)                  e-mail (4)                       expected (1)
 decorations (2)                disagree (1)               e-mails (1)                      expenses (1)
 defend (1)                     disbelieve (5)             Eman (17)                        experience (1)
 Defendant (4)                  disciplinary (1)           Eman's (3)                       explicit (3)
 Defendants (1)                 disciplined (3)            embarrassing (2)                 explosive (2)
 defended (2)                   disconnect (1)             employed (1)                     expressed (1)
 defending (1)                  discover (1)               employee (2)                     expressing (1)
 definitely (9)                 discovery (1)              employees (2)                    expressly (1)
 degree (1)                     discuss (1)                employment (2)                   extent (2)
 Delaney (8)                    discussed (2)              enduring (1)                     extrapolate (1)
 deleted (2)                    discussing (1)             enemy (1)                        eyes (1)
 deliver (1)                    discussion (2)             engineered (1)
 delivered (1)                  disliked (1)               entire (3)                       <F>
 departure (1)                  dispute (1)                entirety (2)                     fabricated (1)
 DEPONENT (24)                  DISTRICT (4)               environment (7)                  fabulous (1)
 deposition (14)                divide (2)                 episode (1)                      face (4)
 depositions (2)                docket (1)                 equal (1)                        Facebook (4)
 DEREK (1)                      document (2)               Erica (6)                        fact (7)
 describe (3)                   documents (2)              erica@clarkhill.com              factored (1)
 described (2)                  doing (25)                  (1)                             fair (9)
 describing (2)                 donor (3)                  escapades (1)                    fairness (2)
 deserve (3)                    door (4)                   escorted (1)                     fall (1)
 deserved (1)                   doors (1)                  especially (3)                   fallout (1)
 desire (5)                     doubt (3)                  Esquire (3)                      family (4)
 desired (1)                    doubted (1)                et (7)                           fan (1)
 desires (1)                    downward (1)               evening (1)                      far (2)
 desk (2)                       Dr (22)                    event (4)                        fast (1)
 destiny (1)                    Draconian (1)              events (2)                       faster (1)
 detail (1)                     draw (1)                   eventual (1)                     father (1)
 details (1)                    dressed (2)                eventually (3)                   fault (1)


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 February (2)                   form (8)                   going (48)                       held (4)
 feel (10)                      formal (2)                 going-away (1)                   help (2)
 feeling (7)                    forth (1)                  gonna (25)                       helped (1)
 feels (1)                      FORUM (24)                 Good (14)                        hereunto (1)
 feet (1)                       forward (2)                goodbye (1)                      hey (3)
 felt (16)                      found (3)                  Google (3)                       hierarchy (1)
 females (2)                    Foundation (1)             gotten (2)                       highest (1)
 fiance (1)                     founded (1)                grab (1)                         HILL (1)
 field (1)                      four (3)                   GREGG (66)                       hindsight (1)
 fight (1)                      fraternity (1)             Gregg's (10)                     hired (11)
 fighting (2)                   free (1)                   ground (2)                       historical (1)
 figure (5)                     friend (3)                 GROUP (1)                        hold (3)
 filed (3)                      friendly (1)               guard (1)                        holiday (1)
 files (1)                      friends (10)               guess (38)                       Holly (1)
 final (1)                      front (3)                  guessing (1)                     home (6)
 finally (3)                    fruitfulness (1)           guests (1)                       honest (1)
 finance (4)                    fruition (1)               guy (5)                          hook (1)
 finance-wise (1)               fucked (1)                 guys (6)                         horrible (1)
 find (1)                       fucking (2)                                                 hosted (1)
 fine (11)                      fulfill (2)                <H>                              hour (6)
 finger (1)                     full (2)                   Halloween (1)                    hours (4)
 finish (4)                     fundraising (6)            hammer (1)                       house (3)
 Fink (2)                       funny (1)                  hand (3)                         hovering (1)
 fire (3)                       further (3)                handed (1)                       How's (1)
 fired (7)                      future (1)                 handing (1)                      HR (5)
 first (17)                     FYI (1)                    handle (1)                       huh-uh (1)
 firsthand (2)                                             handled (1)                      Hung (1)
 fist (1)                       <G>                        handwritten (1)                  hurt (1)
 fitness (2)                    Game (3)                   Hanukkah (1)                     hurtful (1)
 five (3)                       Gary (8)                   happened (15)                    husband (2)
 five-minute (1)                gathered (1)               happening (2)
 five-month (1)                 gears (2)                  happens (1)                      <I>
 flag (1)                       general (7)                happily (1)                      idea (1)
 flags (1)                      generalization (1)         happy (10)                       ideas (2)
 flying (1)                     generally (2)              harassed (1)                     ignore (1)
 follow (1)                     genuine (1)                harasser's (1)                   imagine (4)
 followed (1)                   genuinely (1)              harassing (1)                    immediately (4)
 follower (1)                   getting (3)                harassment (4)                   impatiently (1)
 following (3)                  gift (1)                   hard (4)                         impede (1)
 follows (1)                    girl (1)                   harder (1)                       implement (1)
 follow-up (1)                  girls (3)                  hardest (1)                      important (3)
 food (1)                       gist (2)                   hat (3)                          impression (1)
 football (2)                   give (13)                  hats (1)                         inappropriately (1)
 force (2)                      given (7)                  head (7)                         incidents (3)
 foregoing (2)                  giving (1)                 heads (2)                        INDEX (1)
 foreign (2)                    glanced (1)                hear (5)                         Indian (2)
 forever (1)                    glasses (1)                heard (2)                        indicated (1)
 forget (2)                     glossed (1)                hearing (2)                      indicative (1)
 forgot (1)                     go (45)                    heart (2)                        individually (3)


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 individuals (3)                janitors (1)              lead-in (1)
 influence (1)                  January (5)               leading (1)                      <M>
 information (4)                Jason (1)                 Leah (1)                         mad (1)
 information-gathering          Jewish (1)                learn (1)                        mailchimp (1)
  (1)                           job (13)                  leave (3)                        main (2)
 informed (2)                   jobs (3)                  leaving (2)                      Mainen (1)
 In-house (2)                   joined (1)                led (5)                          making (8)
 initially (5)                  joining (1)               Lee (2)                          male (1)
 injected (1)                   joke (1)                  left (16)                        males (1)
 inquiry (1)                    joked (1)                 left-of-center (1)               malign (1)
 inserting (1)                  jovial (1)                legal (1)                        man (2)
 inspiration (1)                Joyce (5)                 lesson (1)                       manage (3)
 inspired (1)                   Joyce's (1)               letter (3)                       managed (2)
 instantly (1)                  judgment (1)              letting (1)                      management (3)
 instated (1)                   Judy (4)                  liaison (1)                      manager (2)
 instructed (2)                 jumping (1)               lie (1)                          managerial (1)
 intelligent (1)                                          life (6)                         manages (1)
 intended (1)                   <K>                       light (2)                        managing (3)
 interactions (2)               Katrina (15)              Likewise (1)                     marathon (1)
 interested (2)                 Katrina's (3)             limit (1)                        Marc (2)
 interests (1)                  keep (2)                  line (3)                         March (5)
 interject (1)                  Ken (1)                   lines (6)                        Maria (1)
 intermediary (1)               kid (1)                   Lisa (64)                        Mark (1)
 intern (3)                     kids (1)                  Lisa's (3)                       Market (3)
 internal (2)                   kind (4)                  listed (2)                       marketing-type (1)
 international (1)              knew (11)                 listen (1)                       MARNIE (128)
 interns (2)                    Knocked (1)               literally (1)                    Marnie's (5)
 inter-personal (1)             know (265)                little (5)                       marriage (1)
 interrupt (6)                  knowing (3)               live (1)                         Master's (1)
 interrupting (1)               knowingly (1)             local (1)                        Matt (16)
 intervened (1)                 knowledge (17)            lockdown (1)                     matter (2)
 interviewed (2)                known (2)                 lodged (1)                       MATTHEW (9)
 introduce (2)                  knows (3)                 log (1)                          Matt's (1)
 invent (1)                                               logged (1)                       McNulty (4)
 investigate (3)                <L>                       long (3)                         mdibianca@clarkhill.c
 investigating (1)              laid (1)                  longer (7)                       om (1)
 investigation (1)              LANCASTER (1)             look (9)                         mean (75)
 invited (3)                    language (1)              looking (6)                      meaning (4)
 inviting (1)                   laptop (5)                loosened (1)                     means (3)
 involved (2)                   Lara (17)                 lost (3)                         meant (2)
 iron (1)                       Lara's (2)                lot (8)                          medical (1)
 Israel (3)                     Larry (1)                 lots (2)                         medication (1)
 issue (16)                     late (1)                  loud (1)                         meet (7)
 issues (9)                     Laura (21)                love (2)                         meeting (46)
 its (1)                        Laura's (1)               loveable (1)                     meetings (4)
                                LAW (2)                   loyalist (1)                     MEF (15)
 <J>                            lawyer (1)                lunatic (1)                      member (3)
 Jakob (6)                      lead (3)                  lunch (4)                        members (1)
 Jamaica (4)                    leader (1)                lying (1)                        memories (1)


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 memory (1)                     need (11)                  oOo (1)                          performance (4)
 mentality (1)                  needed (7)                 open (5)                         performing (1)
 mentioned (11)                 needs (2)                  operate (1)                      period (2)
 mess (1)                       neither (1)                opinion (1)                      permit (1)
 message (11)                   never (21)                 opportunity (2)                  permitted (1)
 Messaged (3)                   New (9)                    opposite (3)                     person (35)
 messages (15)                  newborn (1)                oral (1)                         personal (4)
 messaging (1)                  newsletter (1)             Order (1)                        personalities (1)
 met (3)                        newsletters (2)            organization (27)                personality (4)
 Meyer (1)                      night (2)                  organize (1)                     personally (2)
 Microsoft (1)                  Ninety-five (1)            originally (3)                   perspective (6)
 MIDDLE (12)                    nod (2)                    other's (1)                      Philadelphia (8)
 migrate (1)                    nOg (1)                    outside (3)                      phone (10)
 migrating (1)                  noise (1)                  overall (1)                      phrase (1)
 migration (2)                  non-profit (3)             oversight (1)                    phrased (1)
 military (1)                   non-profits (1)                                             physically (4)
 mind (3)                       North (1)                  <P>                              pick (2)
 minute (3)                     Notary (3)                 p.m (1)                          picture (4)
 minutes (8)                    noted (2)                  PA (1)                           pink (4)
 mission (2)                    November (13)              pack (1)                         pinpoint (2)
 misspell (1)                   Number (3)                 PAGE (6)                         PIPES (27)
 misspellings (3)                                          pages (2)                        pizza (1)
 mistakes (1)                   <O>                        panel (1)                        PLACE (8)
 Molly (1)                      object (10)                papers (1)                       Plaintiff (4)
 money (2)                      objection (4)              paperwork (6)                    plan (1)
 monitor (1)                    O'BRIEN (8)                parliamentary (1)                plans (1)
 month (2)                      O'Brien's (2)              part (3)                         platform (1)
 months (6)                     observation (1)            particular (1)                   play (1)
 morning (8)                    observed (1)               particularly (1)                 played (1)
 motions (1)                    obsession (1)              parties (1)                      plays (1)
 motivate (2)                   obvious (4)                party (3)                        PLC (1)
 mouth (2)                      obviously (14)             pass-thru (1)                    please (4)
 move (1)                       occasions (2)              password (3)                     PLLC (1)
 moved (1)                      occupying (1)              passwords (2)                    point (20)
 multi-denominational           occur (2)                  Pat (2)                          pointed (1)
 (1)                            occurred (1)               Patricia (4)                     pointing (3)
 mute (3)                       October (5)                pattern (1)                      policy (2)
 muted (1)                      odd (1)                    Paul (1)                         poorly-worded (1)
                                offended (1)               paycheck (1)                     popping (1)
 <N>                            offered (1)                paying (2)                       position (9)
 name (6)                       office (72)                payroll (1)                      positions (1)
 named (6)                      offices (5)                PENNSYLVANIA (3)                 positive (1)
 nap (1)                        official (1)               people (40)                      post-November (2)
 narrative (2)                  oh (12)                    people's (1)                     power (1)
 national (2)                   Okay (67)                  perceived (1)                    predator (2)
 NATO (1)                       older (1)                  percent (3)                      prefer (1)
 natural (1)                    once (5)                   Perfect (2)                      preferred (2)
 naturally (4)                  one-by-one (1)             perfectly (2)                    pregnant (2)
 nature (8)                     online (1)                 perform (1)                      pre-November (2)


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 preparing (2)                                             refer (1)                        reviews (1)
 PRESENT (3)                    <Q>                        referee (1)                      rewind (1)
 presented (1)                  qualifications (1)         referencing (1)                  rid (1)
 pretty (4)                     qualified (3)              referring (11)                   ridiculous (3)
 previously (1)                 quality (2)                regard (6)                       right (25)
 print (1)                      qualm (1)                  regarding (1)                    rise (2)
 prior (9)                      question (60)              regularly (1)                    RMR (4)
 privacy (1)                    questioning (1)            reimbursements (1)               role (16)
 privy (1)                      questions (12)             related (1)                      roles (4)
 probably (15)                  question's (1)             relations (2)                    Roll (1)
 problem (7)                    quickly (2)                relationship (16)                ROMAN (25)
 proceeded (1)                  quite (1)                  relationships (2)                Roman's (2)
 proceeding (1)                                            relevant (1)                     room (3)
 process (2)                    <R>                        rely (1)                         Rosie (2)
 product (2)                    raise (3)                  remain (2)                       Rosiebell (4)
 products (1)                   raised (7)                 remark (3)                       rough (1)
 professional (2)               raises (1)                 remember (43)                    rum (1)
 professionally (1)             raising (1)                remind (2)                       rumor (5)
 profile (1)                    ran (1)                    remote (3)                       rumors (1)
 progressed (1)                 randomly (1)               removed (7)                      run (4)
 pro-Israel (2)                 range (1)                  removing (1)                     runner (1)
 Projects (3)                   ranges (1)                 rent (3)
 promise (1)                    ranking (1)                repeat (4)                       <S>
 promised (1)                   reaction (1)               repeated (1)                     sake (1)
 promoted (2)                   read (8)                   rephrase (1)                     sales (1)
 promotions (1)                 reading (2)                replied (3)                      SalesForce (2)
 proof (1)                      ready (2)                  report (3)                       sat (2)
 proponent (1)                  real (1)                   reported (2)                     satisfactory (1)
 propounded (1)                 realized (2)               REPORTER (9)                     saw (8)
 proprietary (1)                realizing (1)              Reporting (2)                    saying (28)
 propriety (1)                  really (14)                reports (2)                      says (2)
 protect (1)                    reason (6)                 represent (1)                    scared (1)
 prove (2)                      reasons (2)                reprimand (1)                    scenario (1)
 provide (1)                    recall (23)                reprimanded (1)                  scenes (2)
 providing (1)                  recalled (1)               required (1)                     schedule (2)
 prying (1)                     recalling (2)              resigned (4)                     scrapper (2)
 psychological (1)              receive (3)                respect (2)                      screamed (2)
 Public (3)                     received (4)               respective (1)                   screaming (1)
 published (1)                  receiving (2)              respond (1)                      screen (2)
 pull (5)                       Recess (1)                 response (4)                     scripted (1)
 pulling (1)                    recollection (6)           responsibilities (4)             scroll (4)
 purchase (2)                   recollections (1)          responsibility (4)               scrolled (1)
 purpose (2)                    recommended (1)            rest (6)                         scrutinize (1)
 purposes (2)                   reconcile (1)              restaurant (4)                   search (1)
 push (1)                       reconciliation (1)         result (1)                       searching (1)
 pushing (4)                    record (12)                retrospect (1)                   second (4)
 pussy (4)                      recorded (1)               return (1)                       security (2)
 put (11)                       recount (1)                review (3)                       see (23)
 putting (3)                    reduced (1)                reviewed (2)                     seeing (1)


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 seek (1)                       SMITH (1)                  stenographic (1)                 talked (8)
 sending (1)                    smoking (1)                stenographically (1)             talking (14)
 sense (4)                      social (2)                 stepped (1)                      tank (1)
 sensitivity (1)                socialize (3)              stick (1)                        tasked (1)
 sent (10)                      socialized (2)             stop (3)                         taught (2)
 separated (2)                  socializing (1)            stories (1)                      team (4)
 separation (7)                 somebody (7)               stormed (1)                      tech (1)
 serious (1)                    something's (2)            storming (1)                     technically (1)
 served (3)                     son (1)                    storms (1)                       technologically (1)
 server (2)                     soon (2)                   story (2)                        teenagers (1)
 set (1)                        Sorry (23)                 straight (1)                     Tel (1)
 Seth (1)                       sort (11)                  strange (2)                      telegram (8)
 setting (1)                    sound (1)                  Street (5)                       telegrammed (3)
 sex (3)                        sounds (1)                 strictly (2)                     telegrams (2)
 sexual (6)                     space (1)                  stuff (10)                       telegraph (1)
 sexually (1)                   speak (10)                 style (2)                        tell (20)
 shake (1)                      speakers (1)               subordinate (4)                  telling (14)
 share (1)                      speaking (4)               subordinates (2)                 Ten (1)
 shared (1)                     Special (3)                subscribed (2)                   tension (2)
 shed (1)                       Specialist (2)             substance (2)                    tensions (5)
 She'd (1)                      specific (10)              subtract (1)                     term (1)
 shift (2)                      specifically (5)           sucking (1)                      termination (1)
 Shikunov (46)                  specifics (2)              sucks (1)                        terms (7)
 shortly (1)                    spelling (1)               sudden (1)                       testified (8)
 shot (1)                       spending (1)               suddenly (4)                     testify (4)
 shouting (2)                   spent (1)                  sufficient (1)                   testimony (4)
 shove (1)                      spoke (3)                  suit (1)                         text (6)
 show (2)                       spread (3)                 Suite (1)                        texted (2)
 showed (4)                     spy (1)                    summary (2)                      texts (2)
 shown (1)                      SS (1)                     summer (1)                       Thank (3)
 shy (1)                        Stacy (18)                 supervise (2)                    thanks (2)
 sic (1)                        staff (17)                 supervised (2)                   Thelma (10)
 side (2)                       stake (3)                  supervisor (6)                   thick (1)
 sign (2)                       stamped (1)                support (1)                      thing (10)
 simply (2)                     standing (1)               supposed (2)                     things (27)
 single (5)                     stands (2)                 Sure (21)                        think (98)
 sir (10)                       Starbucks (4)              surprising (1)                   thinking (9)
 sister (1)                     start (7)                  Survivor (2)                     thinks (1)
 sit (4)                        started (27)               suspicion (1)                    third (1)
 sitting (4)                    starting (5)               swear (1)                        Third-Party (2)
 situation (4)                  state (2)                  sworn (4)                        thought (17)
 six (2)                        stated (3)                 system (1)                       three (9)
 skills (1)                     statements (1)             systematically (2)               threw (3)
 slammed (1)                    STATES (2)                                                  throat (1)
 sleep (1)                      stating (2)                <T>                              Thrones (2)
 slept (4)                      station (1)                table (5)                        tie (1)
 smart (1)                      status (1)                 take (10)                        Tiffany (11)
 smelled (1)                    stay (3)                   TAKEN (5)                        time (65)
 smiling (1)                    stayed (2)                 talk (19)                        timeframe (1)


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 timekeeping (1)                <U>                        vying (5)                        writing (2)
 timeline (1)                   Uber (6)                                                    written (3)
 times (2)                      uh-huh (2)                 <W>                              wrong (2)
 tir (1)                        ultimately (1)             Wait (2)                         wronged (1)
 title (2)                      um (1)                     waited (1)                       wrote (6)
 today (11)                     unable (1)                 waiting (1)
 Today's (2)                    unclear (2)                walked (3)                       <Y>
 told (33)                      undermine (1)              walking (2)                      Yeah (68)
 tone (1)                       undermined (2)             want (41)                        year (4)
 top (4)                        undermining (2)            wanted (34)                      years (4)
 total (1)                      understand (10)            wanting (1)                      Year's (1)
 touch (1)                      understanding (4)          wash (1)                         yelled (2)
 tough (1)                      understood (2)             Washington (1)                   yelling (3)
 tour (1)                       unfair (1)                 watcher (1)                      Yep (5)
 trained (2)                    unfriend (1)               watching (3)                     yesterday (2)
 training (2)                   unhappy (2)                way (16)                         Yonchek (1)
 trainings (1)                  unilaterally (1)           weave (1)                        York (2)
 transcript (3)                 UNITED (2)                 wedge (9)                        young (2)
 transcription (1)              university (4)             week (3)                         younger (1)
 transcripts (1)                unknowingly (1)            weekly (4)
 transpire (1)                  unnatural (3)              weeks (3)                        <Z>
 transpired (2)                 unraveling (1)             weight (1)                       Zionism (1)
 traumatized (1)                untrue (2)                 weird (1)                        Zionist (5)
 travel (3)                     upset (2)                  well (27)                        ZOA (3)
 trial (1)                      urging (1)                 well-founded (1)                 Zoom (2)
 Tricia (24)                    use (2)                    went (15)
 Tricia's (1)                   user (2)                   we're (13)
 tried (6)                                                 we've (1)
 trip (3)                       <V>                        whereof (1)
 trouble (1)                    vacation (1)               wife (5)
 true (2)                       varied (1)                 Williams (1)
 trust (2)                      various (1)                Wilmington (1)
 trusted (2)                    veered (1)                 wiped (3)
 truth (3)                      Vegan (1)                  Wise (5)
 truthfully (2)                 vendor (1)                 witness (6)
 try (3)                        vendors (1)                woman (1)
 trying (25)                    verbal (1)                 women (19)
 Tuesday (1)                    verbally (2)               word (3)
 turn (4)                       vernacular (1)             words (3)
 tutorials (1)                  versus (2)                 work (59)
 tweeting (2)                   vestibule (1)              worked (7)
 twice (1)                      Video (4)                  working (8)
 Twitter (2)                    Videoconference (1)        workplace (6)
 two (11)                       VIDEOGRAPHER               workshop (2)
 two-faced (1)                   (4)                       world (1)
 two-year-old (2)               virtually (1)              worse (1)
 type (3)                       vocal (1)                  worst (1)
 types (1)                      vs (2)                     wracking (1)
                                vulgar (2)                 write (1)


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